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ATTY

HOURS

08/22/12

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So.

PHONE CALL WITH NORTEL RETIREE NO. 222915.

DISCUSSED DECLARATION IN CONNECTION
WITH NORTEL BANKRUPTCY MOTION TO
TERMINATION RETIREMENT BENEFITS. WILLING
TO ALLOW M&E TO PROVIDE LIMITED
REPRESENTATION FOR THE PURPOSES OF
DRAFTING A DECLARATION TO THE
BANKRUPTCY COURT.

PHONE CALL WITH NORTEL RETIREE NO. 193191
222794 DISCUSSED DECLARATION IN
CONNECTION WITH NORTEL BANKRUPTCY
MOTION TO TERMINATION RETIREMENT
BENEFITS. UNWILLING TO ALLOW M&E TO
PROVIDE LIMITED REPRESENTATION FOR THE
PURPOSES OF DRAFTING A DECLARATION TO
THE BANKRUPTCY COURT.

EMAILS TO RETIREES REGARDING ORDER
APPROVING RETENTION OF MCCARTER &
ENGLISH.

CONFERENCE WITH RETIREE #188057.

CORRESPONDENCE WITH DOUG FORTH
REGARDING REVISIONS TO DECLARATION.

CALL AND CORRESPONDENCE WITH RETIREE
#188722.

DRAFT LINDA WICKEL DECLARATION.

DRAFT DAILY CALL REPORT.

DRAFT CORRESPONDENCE TO BESS STRUBE
REGARDING DRAFT DECLARATION.

DRAFT CORRESPONDENCE TO LINDA WICKEL
REGARDING DRAFT DECLARATION.

ATTENTION TO DOCUMENTS FROM SALLY
ISENEE.

PREPARE FOR CALL WITH RETIREE #192985
REGARDING DRAFT DECLARATION.

04980/NJN

04980/NJN

03658/BPR

03658/BPR

03658/BPR

03658/BPR

03658/BPR

03658/BPR

03658/BPR

03658/BPR

03658/BPR

03658/BPR

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1.00

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08/22/12 REVIEW VOICE MAIL FROM J. ALEXANDER 03658/BPR 0.10
REGARDING PROVISION OF DOCUMENTS TO
RETIREES.
08/22/12 DRAFT RETIREE #197690 DECLARATION. 03658/BPR 0.40
08/22/12 CONFERENCE WITH RETIREE #192985 03658/BPR 0.50
REGARDING DRAFT DECLARATION.
08/22/12 REVIEW AND REVISE RETIREE #213915 03658/BPR 0.60
DECLARATION.
08/22/12 CONFERENCE WITH RETIREE #197690 03658/BPR 0.90
REGARDING DECLARATION AND CALLS TO
OTHER RETIREES.
08/22/12 PREPARING DRAFT DECLARATION FOR RETIREE 03749/J-R 7.10

187726 AND PROVIDING SAME TO RETIREE FOR
REVIEW AND COMMENT (0.5); PREPARING
DRAFT DECLARATION FOR RETIREE 190592 AND
PROVIDING SAME TO RETIREE FOR REVIEW AND
COMMENT (0.5); PREPARING DRAFT
DECLARATION FOR RETIREE 1885411 AND
PROVIDING SAME TO RETIREE FOR REVIEW AND
COMMENT (0.5); PREPARING DRAFT
DECLARATION FOR RETIREE 195762 AND
PROVIDING SAME TO RETIREE FOR REVIEW AND
COMMENT (0.5); PREPARING DRAFT
DECLARATION FOR RETIREE 195851 AND
PROVIDING SAME TO RETIREE FOR REVIEW AND
COMMENT (0.5); ATTEMPTING TO CONTACT
RETIREE 322617 (0.1); CREATING RECORD OF
SECOND MESSAGE LEFT FOR RETIREE 322617
(0.1); ATTEMPTING TO CONTACT RETIREE 213302
(0.1); CREATING RECORD OF UNSUCCESSFUL
CALL TO RETIREE 213302 (0.1); ATTEMPTING TO
CONTACT RETIREE 189447 (0.1); CREATING
RECORD OF DISCUSSION WITH RETIREE 189447
(0.1); AFTEMPTING TO CONTACT RETIREE 206216
(0.1); CREATING RECORD OF MESSAGE LEFT
FOR RETIREE 206216 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
RETIREE 214394 (0.4); CREATING RECORD OF
CALL WITH RETIREE 214394 (0.3); ATTEMPTING
TO CONTACT RETIREE 227949 (0.1); CREATING
RECORD OF MESSAGE LEFT FOR RETIREE
227949 (0.1); CONDUCTING INTERVIEW WITH
RETIREE 191086 (0.2); CREATING RECORD OF
CONVERSATION WITH RETIREE 191086 (0.1);
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ATTEMPTING TO CONTACT RETIREE 190757 (0.1);
CREATING RECORD OF UNSUCCESSFUL CALL
TO RETIREE 190757 (0.1); CREATING RECORD OF
NO PHONE NUMBER PROVIDED FOR RETIREE
4734602 (0.1); ATTEMPTING TO CONTACT
RETIREE 188195 (0.1); CREATING RECORD OF
UNSUCCESSFUL CALL TO RETIREE 188195 (0.1);
ATTEMPTING TO CONTACT RETIREE 187645 (0.1);
CREATING RECORD OF UNSUCCESSFUL CALL
TO RETIREE 187645 (0.1); ATTEMPTING TO
CONTACT RETIREE 507560 (0.1); CREATING
RECORD OF MESSAGE LEFT WITH SPOUSE OF
RETIREE 507560 (0.1); ATTEMPTING TO CONTACT
RETIREE 120603 (0.1); CREATING RECORD OF
UNSUCCESSFUL CALL TO RETIREE 120603 (0.1);
ATTEMPTING TO CONTACT RETIREE 1544727
(0.1); CREATING RECORD OF MESSAGE LEFT
FOR RETIREE 1544727 (0.1); PREPARING FOR
AND CONDUCTING TELEPHONE INTERVIEW OF
RETIREE 1544727 (0.4); CREATING RECORD OF
CALL WITH RETIREE 1544727 (0.3); ATTEMPTING
TO CONTACT RETIREE 245731

CALLS WITH RETIREE 197757 REGARDING 02153/DAT
DECLARATION AND DOCUMENTS (0.7); DRAFT
DECLARATION FOR RETIREE NO. 197757 (1.7):
INTERVIEW OF AND PREPARATION OF
INTERVIEW SHEET FOR RETIREE 196036 (1.5):
INTERVIEW OF AND PREPARATION OF
INTERVIEW SHEET FOR RETIREE NO. 235565
(1.4); INTERVIEW OF RETIREE NO. 227538 (0.4):
CALLS WITH RETIREE NO. 242235 REGARDING
DOCUMENTS AND DECLARATION (0.6); CALLS TO
RETIREES LEAVING MESSAGES ON ANSWERING
MACHINE (0.5).

PREPARE FOR AND CALL TO RETIREE 1603619 03589/MDV
(.4); FILL INTERVIEW FORM FOR RETIREE
1603619 (.1) PREPARE FOR AND CALL TO
RETIREE 65733 (.1); RETURN CALL TO RETIREE
190496 (.1); PREPARE FOR AND CALL TO
RETIREE 223342 (.1); CONFER WITH
COLLEAGUES REGARDING ISSUES (.3); DEVELOP
LIST OF BASIC QUESTIONS FOR RETIREES (.1);
DRAFT EMAIL TO TEAM CONCERNING RETIREE
REQUEST (.1); PREPARE FOR AND CALL TO
RETIREE 1739354 (.2); PREPARE FOR AND CALL
TO RETIREE 199562 (.1); PREPARE FOR AND
CALL TO RETIREE 204777 (.4); PREPARE
INTERVIEW SHEET FOR RETIREE 204777 (.2);

6.80

3.90
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PREPARE FOR AND CALL TO RETIREE 199029
(.1); PREPARE FOR AND CALL TO RETIREE
191559 (.1); PREPARE FOR AND CALL TO
RETIREE 200487 (.1); PREPARE FOR AND CALL
TO RETIREE 203636 (.6); COMPLETE INTERVIEW
SHEET FOR RETIREE 203636 (.2); PREPARE
DECLARATION FOR RETIREE 203636 (.5);
PREPARE FOR AND CALL TO RETIREE 198855

(.1).

CONFER WITH TEAM REGARDING PROPOSED
SELECTION OF RETIREES FOR NORTEL LIST;
REVIEW AND PREPARE LIST; CONFER W/TOGUT
ATTORNEY REGARDING SAME.

REVISE AND ELECTRONICALLY FILE FOURTH
QUARTERLY FEE APPLICATION OF MCCARTER &
ENGLISH;

CONFER WITH VENDOR, REVIEW AND FORWARD ~

TRANSCRIPT OF AUGUST 20, 2012 HEARING

REVIEW AND FORWARD REQUESTED ORDERS
(ERISA) APPROVING RETENTION OF MCCARTER
& ENGLISH;

REVIEWING AND DRAFTING CORRESPONDENCE
RE: RETIREE DISCOVERY (2.4); MEETING WITH
MEMBERS OF DISCOVERY TEAM (.4).

REVIEW OF THE BLUE LINE DRAFT OF THE TERM
SHEET; CONSIDERATION OF LEGAL ISSUES
WITH RESPECT TO THE SAME; COMMUNICATING
WITH RESPECT TO COMMENTS RELATED TO
THE SAME.

REVIEW OF EMAIL COMMUNICATION
REGARDING THE IMPLICATIONS OF THE HOLD
BACK ON THE PROPOSED VEBA AS SET FORTH
IN THE SETTLEMENT AGREEMENT;
CONSIDERATION OF ISSUES RELATED TO THE
SAME.

REVIEW OF COMMUNICATION REGARDING
ISSUES RELATED TO THE MOTION, THE
WITNESSES AND THE DECLARATIONS.

REVIEW OF COMMUNICATION FROM RICHARD

00535/D-B

O4990/JFS

04990/JFS

O4990/JFS

01584/LAC

00952/MAD

00952/MAD

00952/MAD

00952/MAD

3.20

1.30

0.40

0.50

2.80

0.80

0.50

0.30

0.30
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MILIN REGARDING THE PROPOSED SETTLEMENT
AGREEMENT AND THE TERMS AND CONDITIONS
THEREOF.

08/23/12 REVIEW OF THE A&M PRESENTATION TO THE 00952/MAD 0.50
NORTEL RETIREE COMMITTEE AS IT RELATES
TO THE LTC CALCULATIONS BY A&M.

08/23/12 REVIEW MULTIPLE EMAILS RE: STATUS OF 04841/NMI 0.50
DECLARATION PROJECT.

08/23/12 PREPARE DRAFT OF LLC OPERATING 05237/AFK 0.90
AGREEMENT; EMAIL MARK DANIELE REGARDING
SAME.

08/23/12 COMMUNICATE WITH TEAM (MULTIPLE AND 00286/ALN 0.80
EXTENSIVE WITH RESPECT TO DECLARATION
PROJECT.

08/23/12 EXAMINE AND ANALYZE THE NEGOTIATED AND 02718/WFT 1.50
ARRANGED PROPOSED SETTLEMENT TERM
SHEET BETWEEN THE DEBTORS AND THE
RETIREES (INCLUDING THE RED LINE VERSION
AND RELATED CORRESPONDENCE).

08/23/12 EXAMINATION OF LAW REGARDING 02298/JSK 0.25
ENFORCEABILITY OF A PROVISION IN A
PLAN/SUMMARY PLAN DESCRIPTION THAT HAS
BEEN CONSISTENTLY IGNORED BY THE PLAN
SPONSOR.

08/23/12 CONTACTING BY PHONE AND INTERVIEWING 02323/JMA 6.60
RETIREE 242451 (.8); CREATING RECORD OF
CALL AND CORRESPONDENCE (.1); DRAFTING
DECLARATION OF RETIREE 242451 AND
SENDING SAME BY EMAIL (1.0); CONTACTING BY
PHONE AND INTERVIEWING RETIREE 118814 (.8);
CREATING RECORD OF CALL AND
CORRESPONDENCE (.1); DRAFTING
DECLARATION OF RETIREE 242451 AND
SENDING SAME BY EMAIL (1.0); CONFERRING
WITH RETIREE 242949 (.4); SENDING EMAIL TO
RETIREE 242949 CONCERNING FIRM'S
APPOINTMENT (.2); MEETING WITH COLLEAGUES
REGARDING STATUS OVERALL, CHALLENGES
WITH CONTACT INFORMATION AND
REDISTRIBUTION OF CERTAIN CALL
ASSIGNMENTS (.4); WORKING WITH PARALEGAL
TO REDISTRIBUTE SAME (.2); SENDING AND
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RECEIVING EMAILS (INTERNAL) REGARDING
SAME (.3); DISCUSSING WITH COLLEAGUES
DRAFTING OF DECLARATIONS IN CERTAIN
CIRCUMSTANCES (.4); TELEPHONE
CONFERENCE WITH ATTORNEYS REGARDING
REDISTRIBUTED WORK (.3); EMAIL TO
PARALEGAL WITH INFORMATION ON RETIREES
WITH BAD CONTACT INFORMATION (.2);
FIELDING VARIOUS QUESTIONS BY EMAIL AND
TELEPHONE FROM ATTORNEY CALLERS (.4).

OFFICE CONFERENCE REGARDING VEBA
STRUCTURES, AND FURTHER LEGAL
RESEARCH.

ANALYSIS AND CORRESPONDENCE RE
OBTAINING DECLARATIONS.

CORRESPONDENCE AND CALLS WITH CO-
COUNSEL RE FINALIZING DISCOVERY
RESPONSES.

COMMUNICATIONS AND UPDATES REGARDING
NORTEL PROJECT OF CONTACTING
FORMER/RETIRED EMPLOYEES.

COMMUNICATIONS WITH JASON ALEXANDER
REGARDING REQUESTING DOCUMENTS FROM
RETIREES.

COMMUNICATIONS WITH JASON ALEXANDER
ABOUT PROJECT CALLING SPECIFIC RETIREES.

REVIEWED AND PERFORMED EDITS TO DRAFT
DECLARATION RETURNED BY RETIREE NO.
195871 AND FORWARDED SAME TO RETIREE
FOR FINAL REVIEW (.5); COMMUNICATIONS WITH
NORTEL RETIREE iD NO. 204835 REGARDING
FINAL SIGNED COPY OF DECLARATION (.1);
PREPARED FOR AND CONDUCED CALL BACK
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 200497 (.2); CALL BACK TO RETIREE ID NO.
200497 (.1); CALL BACK TO RETIREE ID NO.
200497 REGARDING DOCUMENTS (.2);
PREPARED FOR AND CONDUCTED PHONE
INTERVIEW WITH NORTEL RETIREE ID NO.
200134 (.8); PREPARED FOR AND CONDUCTED
PHONE INTERVIEW WITH NORTEL RETIREE ID
NO. 201548 (.2); CREATED A RECORD OF CALL

0365 1/KAB

03706/KRB

03706/KRB

04537/NEC

04575/B-C

04575/B-C

04575/B-C

0.50

0.20

0.70

0.70

0.10

0.10

4.80
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TO NORTEL RETIREE ID NO. 201548 (.1);
PREPARED FOR AND CONDUCTED PHONE
INTERVIEW WITH NORTEL RETIREE ID NO.
243849 (1.2); PREPARED FOR AND ATTEMPTED
PHONE INTERVIEWS WITH NORTEL RETIREE ID
NO. 204552 (.3); PERFORMED CALL BACK TO
NORTEL ID NO. 200497 (.2); COMMUNICATIONS
WITH WIFE OF NORTEL RETIREE ID NO. 193140
(.1); CREATED RECORD OF CALL FOR ID NO.
193140 (.1); PREPARED FOR AND CONDUCTED
INTERVIEW WITH NORTEL RETIREE ID NO.
1603281 (.7).

DRAFTED AND SUBMITTED DAILY SUMMARY OF
CALLS TO LOU CHIAFULLO.

REVIEWED FILE, TELEPHONED RETIREE 191306
AND LEFT VOICE-MAIL MESSAGE;
MEMORIALIZED CALL.

REVIEWED FILE, TELEPHONED RETIREE 193227
AND LEFT VOICE-MAIL MESSAGE;
MEMORIALIZED CALL.

REVIEWED FILE AND CONDUCTED TELEPHONE
INTERVIEW WITH RETIREE 189122.

TELEPHONE CALL WITH RETIREE 190499.

TELEPHONED RETIREE 4713054, LEFT VOICE-
MAIL MESSAGE AND MEMORIALIZED CALL.

DISCUSSED AND CONSIDERED ISSUES RELATED
TO RETIREE DECLARATION PROJECT AND
PROTOCOLS AND ASSIGNMENTS FOR
CONTACTING RETIREES.

REVISED DECLARATION OF RETIRE 190499 AND
SENT TO RETIREE VIA EMAIL.

REVIEWED FILE, TELEPHONED RETIREE 187595
AND MEMORIALIZED CALL.

PREPARED DRAFT DECLARATION FOR RETIREE
189122 AND FORWARDED VIA EMAIL TO
RETIREE.

04575/B-C

03262/CWD

03262/CWD

03262/CWD

03262/CWD

03262/CWD

03262/CWD

03262/CWD

03262/CWD

03262/CWD

0.10

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0.20

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0.60
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08/23/12 REVIEWED FILE, TELEPHONED RETIREE 193825
AND MEMORIALIZED CALL.

08/23/12 REVIEWED FILE, TELEPHONED RETIREE 187595
AND LEFT VOICE-MAIL MESSAGE;
MEMORIALIZED CALL.

08/23/12 REVIEWED FILE, TELEPHONED RETIREE 205592
AND LEFT VOICE-MAIL MESSAGE;
MEMORIALIZED CALL.

08/23/12 REVIEWED FILE, TELEPHONED RETIREE 204828
AND LEFT VOICE-MAIL MESSAGE;
MEMORIALIZED CALL.

08/23/12 PROVIDE STATUS UPDATE TO L. CHIAFULLO

08/23/12 PREPARING FOR AND CONDUCTING INTERVIEW

OF NORTEL RETIREE, ID NO. 186489 (0.1);

PREPARING FOR AND CONDUCTING INTERVIEW

OF NORTEL RETIREE, ID NO. 206214 (0.1);

PREPARING FOR AND CONDUCTING INTERVIEW

OF NORTEL RETIREE, ID NO. 204960 (0.8);
CREATING RECORD OF CALL AND
CORRESPONDENCE (1.0)

08/23/12 SUMMARIZING CALL AND DECLARATION
ACTIVITIES FROM AUGUST 22, 2012

08/23/12 COMMUNICATING WITH TEAM LEADERS
REGARDING RETIREES WITH INCORRECT
CONTACT INFORMATION (0.3); PREPARING FOR
AND SPEAKING WITH RETIREE NO. 196839 (0.3);

CREATING RECORD OF CALL WITH RETIREE NO.

196839 (0.2); DRAFTING AND SENDING LETTER
TO RETIREE NO. 196839 (0.4); PREPARING FOR
AND CALLING RETIREE NO. 196380 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
197094 (0.1); PREPARING FOR AND CALLING

RETIREE NO. 195758 (0.1); PREPARING FOR AND

CALLING RETIREE NO. 235963 (0.1); CREATING

RECORD OF CALL FOR RETIREE NO. 235963 (0.3);

PREPARING FOR AND CALLING RETIREE NO.
197569 (0.1); PREPARING FOR AND CALLING

RETIREE NO. 197477 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 197731 (0.1); PREPARING

FOR AND CALLING RETIREE NO. 197190 (0.1);
INTERVIEWING RETIREE NO. 197737 (0.8);

03262/CWD

03262/CWD

03262/CWD

03262/CWD

05130/CMG

03698/RJH

03698/RJH

04585/BDK

0.20

0.30

0.20

0.20

0.10

2.00

0.80

6.30
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CREATING RECORD OF CALL WITH RETIREE NO.
197731 (0.2); DRAFTING DECLARATION FOR
RETIREE NO. 197731 AND SENDING SAME TO
RETIREE NO. 197731 (0.8); COMMUNICATING
WITH RETIREE NO. 197190 REGARDING DRAFT
DECLARATION (0.3); PREPARING AND SENDING
DRAFT DECLARATION AND COVER LETTER TO
RETIREE NO. 197190 (0.4); PREPARING FOR AND
INTERVIEWING RETIREE NO. 195694 (0.7);
CREATING RECORD OF CALL WITH RETIREE NO.
195694 (0.2); PREPARING FOR AND CALLING
RETIREE NO. 245014 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 197631 (0.1); CREATING
RECORD OF CALL WITH RETIREE NO. 197631
(0.2), COMMUNICATING WITH M&E ATTORNEYS
REGARDING STATUS REPORT ON RETIREE
INTERVIEWS (0.2).

REVIEW NOTES AND PREPARE DECLARATION
FOR RETIREE 223261 (0.9); REVIEW NOTES AND
PREPARE DECLARATION FOR RETIREE 185629
(0.8)

COMPILE LIST OF RETIREES WITH WRONG
CONTACT INFORMATION (.3); PHONE CALL WITH
RETIREE 19649 (.6); MAKE NOTES ON CALL WITH
RETIREE 19649 (.2); PHONE CALL TO RETIREE
191590 (.1); PHONE CALL TO RETIREE 222589 (.1);
LEFT MESSAGE FOR RETIREE 223285 (.1);
PHONE CALL TO RETIREE 189507 (.1); EMAIL TO
RETIREE 1626214 REGARDING DECLARATION
(.1); DRAFT LETTER TO RETIREE 187399
REGARDING DECLARATION (.3); PHONE CALL TO
RETIREE EMAIL 506470 (.1); LEFT MESSAGE FOR
RETIREE 191910 (.1); LEFT MESSAGE FOR
RETIREE 190555 (.1); PHONE CALL WITH RETIREE
191910 (.6); MAKE NOTES ON CONVERSATION
WITH RETIREE 191910 (.2); PHONE CALL TO
RETIREE 227406 (.1); PHONE CONVERSATION
WITH 244278 (.2); PHONE CALL WITH RETIREE
248458 (.2); DRAFT EMAIL TO RETIREE 248458
(.1); PHONE CALL WITH RETIREE 207396 (.2);
PHONE CALL WITH RETIREE 207396 (.2); LEFT
MESSAGE FOR RETIREE 185629 (.1); LEFT
MESSAGE FOR RETIREE 525650 (.1); PHONE
CALL TO RETIREE 191691 (.1); PHONE CALL TO
RETIREE 222176 (.1); PHONE CALL WITH RETIREE
185629 (.7); MAKE NOTES ON CONVERSATION
WITH RETIREE 185629 (.2); LEFT MESSAGE WITH
RETIREE 223261 (.1); PHONE CALL TO RETIREE

05172/JAK

05172/JAK

1.70

7.10
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117569 (.1), LEFT MESSAGE FOR RETIREE 117569
(.1); PHONE CALL TO RETIREE 191705 (.1);

PHONE CALL WITH RETIREE 185622 (.1); LEFT
MESSAGE WITH RETIREE 191708 (.1); LEFT
MESSAGE FOR RETIREE 246622 (.1); PHONE
CALL TO RETIREE 191622 (.1); PHONE CALL WITH
RETIREE 243106 (.2); PHONE CALL WITH RETIREE
223261 (.9); MAKE NOTES FROM CALL WITH
RETIREE 223261 (.2).

PHONE CALL WITH NORTEL RETIREE 240335
205762 223144 188620 191164 191178 205771
223042 191423 222917 222659 191407 195098
190944 191483 204529. CONTACT NUMBER
PROVIDED WAS NOT IN SERVICE, CHANGED,
WRONG NUMBER, AND/OR DISCONNECTED.

PHONE CALL WITH JASON ALEXANDER
DETAILING THE RETIREE'S REASSIGNED.

PHONE CALL WITH NORTEL RETIREE NO. 191448
191380 191465 190956 204736 201344 136872.
DISCUSSED DECLARATION IN CONNECTION
WITH NORTEL BANKRUPTCY MOTION TO
TERMINATION RETIREMENT BENEFITS. WILLING
TO ALLOW M&E TO PROVIDE LIMITED
REPRESENTATION FOR THE PURPOSES OF
DRAFTING A DECLARATION TO THE
BANKRUPTCY COURT.

DRAFTING OF DECLARATION TO THE
BANKRUPTCY COURT FOR NORTEL RETIREE NO.
193011 IN CONNECTION WITH NORTEL
BANKRUPTCY MOTION TO TERMINATION
RETIREMENT BENEFITS. DECLARATION WILL
DETAIL HOW EACH RETIREE WILL AND HAS
BEEN AFFECTED BY THE ACTION OF NORTEL
WHILE RETIREE AS EMPLOYED BY NORTEL AND
SUBSEQUENT TO THE RETIREES RETIREMENT
FROM NORTEL.

PHONE CALL WITH NORTEL RETIREE NO. 1927713.
DISCUSSED DECLARATION IN CONNECTION
WITH NORTEL BANKRUPTCY MOTION TO
TERMINATION RETIREMENT BENEFITS.
UNWILLING TO ALLOW M&E TO PROVIDE LIMITED
REPRESENTATION FOR THE PURPOSES OF
DRAFTING A DECLARATION TO THE
BANKRUPTCY COURT.

04980/NJN 0.20

04980/NJN 0.30

04980/NJN 3.60

04980/NJN 0.30

04980/NJN 0.40
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PHONE CALL WITH NORTEL RETIREE NO. 190951
191469 222696 186651 191201 76380 211266
185884 106445 191678 206717 TO DISCUSS
DECLARATION IN CONNECTION WITH NORTEL
BANKRUPTCY MOTION TO TERMINATION
RETIREMENT BENEFITS. RETIREE WAS NOT
AVAILABLE THEREFORE | LEFT A VOICEMAIL
MESSAGE INDICATING MY REASON FOR THE
CALL, ASKING THE RETIREE TO CONTACT ME AS
SOON AS POSSIBLE, AND THAT | WOULD BE
ATTEMPTING TO CONTACT THE RETIREE IN THE
NEXT DAY OR SO.

UPLOAD SALLY ISENSEE DOCUMENTS, EMAILS,
AND DECLARATION.

PREPARE FOR AND CALL RETIREE 513847.
RETIREE NOT USING BENEFITS (.4). PREPARE
FOR AND CALL RETIREE 189055. NOT A
WORKING NUMBER. (.2). PREPARE FOR AND
CALL RETIREE 189165. VM (.2).
CORRESPONDENCE WITH RETIREE 188057 (.2)
CORRESPONDENCE REGARDING NON-WORKING
NUMBERS (.3) PREPARE L DRIVE FOLDERS FOR
5 RETIREES WITH NON-WORKING NUMBERS. (.2)
PREPARE FOR AND CALL RETIREE 188964.
VOICE MAIL. (.2) PREPARE FOR AND CALL
RETIREE 754855. VOICE MAIL. (.2). CREATE L
DRIVE FOLDERS FOR 7 RETIREES. (.1). UPDATE
RETIREE 188057 L DRIVE. (.1). UPDATE RETIREE
197690 L DRIVE. (.1) UPDATE RETIREE 188966 L
DRIVE. (.2) CREATE L DRIVE FOR RETIREE
212117 AND ADD EMAIL CORRESPONDENCE. (.1).
CREATE L DRIVE FOR RETIREE 188528 AND ADD
EMAIL CORRESPONDENCE. (.1). ATTENTION TO
VOICE MAIL FROM RETIREE 189165 AND UPDATE
L DRIVE. (.2). ATTENTION TO VOICE MAILS FROM
RETIREES 193528, 188964, AND 188057. (.1).
PREPARE FOR AND CONFERENCE WITH
RETIREE 193528. (.6) CONFERENCE WITH
RETIREE 188964. (.7). DRAFT DAILY CALL
REPORT. (.2) PREPARE FOR AND CONFERENCE
WITH RETIREE 213915. (.3). DRAFT RETIREE
193528 DECLARATION. (.5)

PREPARING FOR AND CONTACTING RETIREE
188761 TO DISCUSS DRAFT DECLARATION (0.1);
REVIEWING EDITS OF RETIREE 1125006,
INCORPORATING EDITS AND PROVIDING

04980/NJN

03658/BPR

03658/BPR

03749/J-R

0.30

0.60

5.20

7.90
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REVISED DECLARATION TO RETIREE (0.5);
PREPARING FOR AND CONTACTING RETIREE
188326 TO DISCUSS DRAFT DECLARATION (0.1);
REVIEWING EDITS OF RETIREE 188326,
INCORPORATING EDITS AND PROVIDING
REVISED DECLARATION TO RETIREE (0.5);
REVIEWING EDITS OF RETIREE 188317,
INCORPORATING EDITS AND PROVIDING
REVISED DECLARATION TO RETIREE (0.2);
PREPARING FOR AND CONTACTING RETIREE
247323 (0.3); CREATING RECORD OF CALL TO
RETIREE 247323 (0.1); PREPARING FOR AND
CONTACTING RETIREE 188132 (0.1); CREATING
RECORD OF CALL TO RETIREE 188132 (0.1);
PREPARING FOR AND CONTACTING RETIREE
4737005 (0.1); CREATING RECORD OF CALL TO
RETIREE 4737005 (0.1); PREPARING FOR AND
CONTACTING RETIREE 195926 (0.1); CREATING
RECORD OF CALL TO RETIREE 195926 (0.1);
PREPARING DRAFT DECLARATION FOR RETIREE
214394 AND PROVIDING SAME FOR RETIREE FOR
REVIEW (0.5); PREPARING DRAFT DECLARATION
FOR RETIREE 1544727 AND PROVIDING SAME
FOR RETIREE FOR REVIEW (0.5); PREPARING
FOR AND CONDUCTING TELEPHONE INTERVIEW
OF RETIREE 507560 (0.4); CREATING RECORD OF
CALL TO RETIREE 507560 (0.3); CREATING
RECORD OF CALL TO RETIREE 1542949 (0.1);
CREATING RECORD OF CALL TO RETIREE 213835
(0.1); PREPARING FOR AND CONTACTING
RETIREE 206216 (0.2); CREATING RECORD OF
CALL TO RETIREE 206216 (0.1); REVIEWING
EDITS OF RETIREE 190592, INCORPORATING
EDITS AND PROVIDING REVISED DECLARATION
TO RETIREE (0.4); PREPARING FOR AND
CONTACTING RETIREE 187239 (0.1); CREATING
RECORD OF CALL TO RETIREE 187239 (0.1);
PREPARING FOR AND CONTACTING RETIREE
227992 (0.1); CREATING RECORD OF CALL TO
SPOUSE OF RETIREE 227992 (0.2); PREPARING
FOR AND CONDUCTING TELEPHONE INTERVIEW
OF RETIREE 227481 (0.4); CREATING RECORD OF
CALL TO RETIREE 227481 (0.3); PREPARING FOR
AND LEAVING MESSAGE FOR RETIREE 191733
(0.1); PREPARING FOR AND LEAVING MESSAGE
FOR RETIREE 233700 (0.1); PREPARING FOR AND
CONTACTING RETIREE 187129 (0.1); CREATING
RECORD OF CALL TO RETIREE 187129 (0.1);

RETURN CALL WITH RETIREE 196036 (0.3); 02153/DAT
DRAFT, REVISE AND FILE DECLARATION FOR

7.60
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RETIREE 196036 (1.8); PREPARATION OF
CORRESPONDENCE FOR RETIREE 196036 (0.4);
PREPARATION OF LIST OF INCORRECT
TELEPHONE CONTACTS (0.4); RETURN CALL
WITH RETIREE 197757 (0.4); RETURN CALL WITH
RETIREE 235565 (0.3); DRAFT AND REVISE
DECLARATION FOR RETIREE 235565 (1.5);
PREPARATION OF CORRESPONDENCE TO
RETIREE235565 (0.3); INTERVIEW OF RETIREE
466927 (0.6); INTERVIEW OF RETIREE 197191
(0.5); INTERVIEW OF RETIREE 196661 (0.5);
INTERVIEW OF RETIREE 197018 (0.4); CALLED
AND LEFT MESSAGE ON MACHINE FOR
RETIREES 195865, 195853, 196877, AND 196011

(0.3); CALLED AND ENCOUNTERED NUMBER OUT

OF SERVICE OR NO ANSWER MACHINE FOR
RETIREES 189284, 117883, 236023 AND 196106
(0.2).

08/23/12 REVIEW LIST OF INVALID CONTACT
INFORMATION (.1); PREPARE FOR AND CALL TO
RETIREE 198855 (.6); COMPLETE INTERVIEW
SHEET FOR 198855 (.2); DRAFT DECLARATION
FOR RETIREE 798855 (.5); DRAFT LETTER TO
RETIREE 198855 AND FACILITATE MAILING OF

DECLARATION (.3); FINALIZE DECLARATION FOR

RETIREE 203636 (.1); SEND RETIREE 203636
DRAFT DECLARATION (.1); CALL TO RETIREE
185761 (.2); PREPARE INTERVIEW SHEET FOR
RETIREE 185761 (.1); CALL TO RETIREE 201129
(.6); PREPARE INTERVIEW SHEET FOR 201129
(1); EMAIL RETIREE 201129 (.1); DRAFT
DECLARATION FOR RETIREE 201129 (.5); CALL
TO RETIREE 193743 (.1); CALL TO RETIREE
493061 (.1).

08/23/12 REVIEW TEAM STATUS REPORTS REGARDING
CALLS TO RETIREES; PREPARE SUMMARY OF

TEAM PROGRESS TO DATE; CONFER WITH TEAM

ATTORNEYS REGARDING INTERVIEW
DOCUMENTS; REVIEW AND ORGANIZE
COMPLETED INTERVIEW DOCUMENTS.

08/23/12 CONFER COUNSEL AND VENDOR REGARDING
POSSIBLE FILE, COPY AND SERVICE OF
DISCOVERY RESPONSES;

08/23/12 CONFER WITH COUNSEL AND VENDOR
REGARDING RECEIVED HEARING TRANSCRIPT

03589/MDV 3.70

00535/D-B 5.00

04990/JFS 0.40

04990/JFS 0.40
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08/24/12

08/24/12

08/24/12

08/24/12

08/24/12

OF AUGUST 22, 2012 HEARING;

CONDUCTING RESEARCH TO FIND PHONE
NUMBERS AND CURRENT ADDRESSES
REGARDING RETIREES.

MEETING WITH TEAM MEMBERS RE: ISSUES
(1.1); REVIEWING AND DRAFTING
CORRESPONDENCE RE: STATUS OF DISCOVERY
(.6); REVIEWING AND DRAFTING
CORRESPONDENCE RE: DISCOVERY (2.2).

REVIEW EMAILS FROM TEAM RE: STATUS OF
DECLARATION PROJECT.

REVIEW LLC DRAFTING ISSUES.

CONTINUED COMMUNICATIONS WITH TEAM
(MULTIPLE AND EXTENSIVE) WITH RESPECT TO
DECLARATION PROJECT.

MULTIPLE REVISIONS OF NORTEL RAIL (TASK
AND STRATEGY LIST).

CONTINUED REVIEW OF STATUS OF
DECLARATION PROJECT; CONSIDER WORK
PRODUCT ISSUES AND RETIREE QUESTIONS.

COMMUNICATE WITH TOGUT WITH RESPECT TO
STATUS OF DECLARATION PROJECT.

DRAFT, REVISE AND FINALIZE THE RESPONSES
TO THE DOCUMENT REQUESTS AND
COMMUNICATE WITH LEAD COUNSEL ON
CHANGES NEEDED AND PROCEDURES FOR
FILING TODAY.

EXAMINE AND ANALYZE AND APPROVE FOR
FILING THE FINALIZED VERSION OF THE
INTERROGATORY RESPONSES AS AMENDED.

EXAMINE AND ANALYZE PROPOSED JULY
MONTHLY APPLICATION OF A&M AND
CORRESPOND WITH A&M AND COUNSEL RE
ISSUES/CHANGES THAT WILL BE NEEDED IN
ORDER TO TIMELY FILE SAME TODAY.

00216/JJG

01584/LAC

04841/NMI

05237/AFK

00286/ALN

00286/ALN

00286/ALN

00286/ALN

02718/WFT

02718/,\WFT

02718/WFT

0.40

3.90

0.30

0.10

0.90

0.40

2.20

0.10

1.50

0.30

0.50
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08/24/12 CORRESPONDENCE WITH A&M RE FILING 02718/WFT 0.30
DETAILS AND TIMING FOR VARIOUS FEE
APPLICATIONS TO MEET CERTAIN DEADLINES.

08/24/12 EXAMINE AND ANALYZE AND APPROVE FOR 02718/WFT 0.30
FILING THE FINALIZED VERSION OF THE
DOCUMENT RESPONSES AS AMENDED.

08/24/12 DRAFT, REVISE AND FINALIZE THE 0271 8/WFT 1.50
INTERROGATORY RESPONSES AND
COMMUNICATE WITH LEAD COUNSEL ON
CHANGES NEEDED AND PROCEDURES FOR
FILING TODAY.

08/24/12 EXAMINE AND ANALYZE PROPOSED JUNE 02718/WFT 0.50
MONTHLY APPLICATION OF A&M AND
CORRESPOND WITH A&M AND COUNSEL RE
ISSUES/CHANGES THAT WILL BE NEEDED IN
ORDER TO TIMELY FILE SAME TODAY.

08/24/12 EXAMINE AND ANALYZE PROPOSED TS&S 10TH 0271 8/WFT 0.50
MONTHLY APPLICATION; DRAFT, REVISE,
FINALIZE AND APPROVE SAME FOR FILING.

08/24/12 EXAMINE AND ANALYZE PROPOSED QUARTERLY 02718/WFT 0.50
FEE APPLICATION OF A&M AND CORRESPOND
WITH A&M AND COUNSEL RE ISSUES/CHANGES
THAT WILL BE NEEDED IN ORDER TO TIMELY
FILE SAME TODAY.

08/24/12 CORRESPOND AND UPDATE LEAD COUNSEL ON 02718/WFT 0.30
SUCCESSFUL FILING ANDS SERVICE OF
DISCOVERY RESPONSES.

08/24/12 CALL WITH A&M RE FILING VARIOUS FEE 02718/WFT 0.30
APPLICATIONS FOR THEM TODAY TO MEET
CERTAIN DEADLINES.

08/24/12 CORRESPOND WITH LEAD COUNSEL RE 02718AVFT 0.30
CHANGING THE CHART OF RETIREES FOR
DISCOVERY RESPONSES.

08/24/12 EXAMINE AND ANALYZE FINAL VERSION OF THE 02718/WFT 0.30
A&M QUARTERLY FEE APPLICATION, REVISE
AND APPROVE FOR FILING.

08/24/12 COMMENCING EXAMINATION OF POST-CIGNA V. 02298/JSK 2.00
AMARA CASE LAW IN CONNECTION WITH
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ANALYZING THE EXTENT TO WHICH RETIREES
MAY NEED TO AVER AND ESTABLISH RELIANCE
IN A SUIT CHALLENGING NORTEL'S UNILATERAL
TERMINATION OF RETIREE WELFARE PLAN
COVERAGE.

CONTACTING BY PHONE AND INTERVIEWING 02323/JMA
RETIREE 227193 (.8); CREATING RECORD OF
CALL AND CORRESPONDENCE (.1); CONTACTING
BY PHONE AND INTERVIEWING RETIREE 244667
(1.0); CREATING RECORD OF CALL AND
CORRESPONDENCE (.1); RECEIPT, REVIEW AND
RESPONDING TO EMAILS FROM RETIREE 118814
(.3); ATTEMPTING TO CONTACT BY PHONE.
RETIREE 242331 AND CREATING RECORD OF
SAME (.2); ATTEMPTING TO CONTACT BY PHONE
RETIREE 242855 AND CREATING RECORD OF
SAME (.2); ATTEMPTING TO CONTACT BY PHONE
RETIREE 242223 AND CREATING RECORD OF
SAME (.2); ADDRESSING VARIOUS QUESTIONS
BY EMAIL AND TELEPHONE FROM ATTORNEY
CALLERS (.5); RECEIPT AND REVIEW OF EMAILS
CONCERNING CALLERS STATUS (.3); INTERNAL
DISCUSSIONS WITH COLLEAGUES REGARDING
STATUS (.3); RECEIPT AND REVIEW OF EMAIL
REGARDING OVERALL STATUS REPORT AND
DISCUSSING WITH COLLEAGUES (.2);
CONDUCTING RESEARCH INTO AREA CODE
CHANGES/SPLITS AS POSSIBLE REASON FOR
"BAD" CONTACT INFORMATION (.5).

CORRESPONDENCE RE FINALIZING DISCOVERY 03706/KRB
RESPONSES AND NOTICE/SERVICE RE SAME.

REVIEWED SIGNED DECLARATION RETURNED 04575/B-C
BY RETIREE NO. 204835 AND COMMUNICATIONS
WITH RETIREE REGARDING SAME (.3);
REVIEWED DOCUMENTS SUBMITTED BY NORTEL
RETIREE ID NO. 200134 (1.1); COMMUNICATIONS
WITH NORTEL RETIREE ID NO. 200134
REGARDING RECEIPT OF DOCUMENTS AND
DRAFTING OF DECLARATION (.1); REVIEWED
DOCUMENTS SUBMITTED BY NORTEL RETIREE
ID NO. 200497 (.3); COMMUNICATIONS WITH
RETIREE NO. 200497 REGARDING RECEIPT OF
DOCUMENTS AND DRAFTING OF DECLARATION
(.1); PREPARED FOR AND CONDUCTED CALL
BACK OF NORTEL RETIREE ID NO. 233124 (.4);
CREATED A RECORD OF CALL WITH NORTEL
RETIREE ID NO. 233124 (.3); DRAFTED

4.70

0.20

7.40
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08/24/12

DECLARATION FOR NORTEL RETIREE ID NO.
233124 AND FORWARDED SAME TO RETIREE
FOR REVIEW(1.3); COMPLETED INTERVIEW
SHEET FOR NORTEL RETIREE ID NO. 204694 (.1):
COMPLETED INTERVIEW WITH ID NO. 200497 (.2);
DRAFTED DECLARATION FOR NORTEL RETIREE
ID NO. 200497 AND FORWARDED SAME TO
RETIREE FOR REVIEW(1.5); COMPLETED
INTERVIEW SHEET AND CREATED RECORD OF
CALL FOR RETIREE ID NO. 200497 (.3):
PREPARED FOR AND CONDUCTED PHONE
INTERVIEW WITH RETIREE ID NO. 200950 (.1);
CREATED RECORD OF CALL FOR NO. 200950 (.1);
DRAFTED DECLARATION AND FORWARDED TO
NORTEL RETIREE ID NO. 200134 FOR REVIEW
(1.2).

DRAFTED AND SUBMITTED DAILY SUMMARY OF
CALLS TO LOU CHIAFULLO.

P/C WITH JASON ALEXANDER REGARDING
DECLARATIONS AND CALLS TO RETIREES WHO
PREVIOUSLY FILED DECLARATIONS.

PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 202773 (0.5);
CREATING RECORD OF CALL AND
CORRESPONDENCE (0.7); PREPARING FOR AND
CONDUCTING INTERVIEW OF NORTEL RETIREE,
ID NO. 186489 (0.2); CREATING RECORD OF CALL
AND CORRESPONDENCE (0.3); PREPARING FOR
AND CONDUCTING INTERVIEW OF NORTEL
RETIREE, ID NO. 198931 (0.8); CREATING
RECORD OF CALL AND CORRESPONDENCE (0.9);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 198932 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 200667 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 213023 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 1556013 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 186480 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 204594 (0.6);
CREATING RECORD OF CALL AND
CORRESPONDENCE (0.6); PREPARING FOR AND
CONDUCTING INTERVIEW OF NORTEL RETIREE,
ID NO. 1619816 (0.1); PREPARING FOR AND

04575/B-C

04575/B-C

03698/RJH

0.10

0.30

9.40
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CONDUCTING INTERVIEW OF NORTEL RETIREE,
ID NO. 1581989 (0.1); PREPARING FOR AND
CONDUCTING INTERVIEW OF NORTEL RETIREE,
ID NO. 212578 (0.1); PREPARING FOR AND
CONDUCTING INTERVIEW OF NORTEL RETIREE,
ID NO. 227662 (0.2); PREPARING FOR AND
CONDUCTING INTERVIEW OF NORTEL RETIREE,
ID NO. 198261 (0.1); PREPARING FOR AND
CONDUCTING INTERVIEW OF NORTEL RETIREE,
ID NO. 198799 (0.1); PREPARING FOR AND
CONDUCTING INTERVIEW OF NORTEL RETIREE,
ID NO. 204873 (0.8); CREATING RECORD OF CALL
AND CORRESPONDENCE (0.6); PREPARING FOR
AND CONDUCTING INTERVIEW OF NORTEL
RETIREE, ID NO. 1619816 (1.2); CREATING
RECORD OF CALL AND CORRESPONDENCE (1.0)

DRAFTING DECLARATION FOR AND SENDING
SAME TO RETIREE NO. 195964 (0.9); PREPARING
FOR, CALLING AND SPEAKING WITH RELATIVE
OF RETIREE NO. 196380 (0.3); CREATING
RECORD OF CALL FOR RETIREE NO. 196380 (0.2);
PREPARING FOR AND CALLING RETIREE NO.
197094 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 195758 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 197569 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 197477 (0.1);
PREPARING FOR, CALLING AND SPEAKING WITH
RETIREE NO. 245014 (0.2); CREATING RECORD
OF CALL FOR RETIREE NO. 245014 (0.2);
PREPARING FOR AND CALLING RETIREE NO.
195611 (0.1); COMMUNICATING WITH M&E
ATTORNEYS REGARDING ISSUES RELATING TO
RETIREE INTERVIEWS AND RECORDS OF CALLS
(0.4); PREPARING FOR AND CALLING RETIREE
NO. 195681 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 234357 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 197263 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 195772 (0.1);
PREPARING FOR, CALLING AND SPEAKING WITH
RETIREE NO. 196439 (0.2); CREATING RECORD
OF CALL FOR RETIREE NO. 196439 (0.2);
PREPARING FOR AND CALLING RETIREE NO.
195714 (0.1); PREPARING FOR, CALLING AND
INTERVIEWING RETIREE NO. 243426 (0.7);
CREATING RECORD OF CALL FOR RETIREE NO.
243426 (0.2); DRAFTING DECLARATION FOR AND
SENDING SAME TO RETIREE NO. 243426 (0.8);
PREPARING FOR, CALLING AND SPEAKING WITH
RETIREE NO. 520545 (0.2); CREATING RECORD
OF CALL FOR RETIREE NO. 520545 (0.2);

04585/BDK

6.80
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PREPARING FOR AND CALLING RETIREE NO.
196396 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 197483 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 197533 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 197507 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
197450 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 196626 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 234387 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 197547 (0.1):
PREPARING FOR AND CALLING RETIREE NO.
197602 (0.1); COMMUNICATING WITH M&E
ATTORNEYS REGARDING STATUS REPORT ON
RETIREE INTERVIEWS (0.2).

REVIEW DOCKET FOR CLAIM SUBMITTED BY 05172/JAK
RETIREE 223261 (.4); PHONE CALL WITH RETIREE
246622 (.6); MAKE NOTES ON CONVERSATION
WITH RETIREE 246622 (.2); PHONE CALL WITH
RETIREE 248458 (.3); PHONE CALL TO RETIREE
244582 (.1); LEFT MESSAGE FOR RETIREE 204836
(.1); PHONE CALL WITH WIFE OF RETIREE 185641
(.3); POHONE CALL TO RETIREE 237576 (.1);
PHONE CALL WITH RETIREE 191594 (.2); REVIEW
NOTES AND PREPARE DECLARATION FOR
RETIREE 191910 (.9); LEFT MESSAGE FOR
RETIREE 191706 (.6); PHONE CALL TO RETIREE
120653 (.1) PHONE CALL TO RETIREE 194378 (.1):
PHONE CALL TO RETIREE 132570 (.1); PHONE
CALL TO RETIREE 75121 (.1); REVIEW NOTES
AND PREPARE DECLARATION FOR RETIREE
190649 (.8); PHONE CALL WITH RETIREE 191910
(.2); RECEIPT AND REVIEW OF RETIREMENT
DOCUMENTS PROVIDED BY RETIREE 201451 (.4):
REVIEW NOTES AND PREPARE DECLARATION
FOR RETIREE 223298 (.8); REVIEW NOTES AND
PREPARE DECLARATION FOR RETIREE 204493
(.8); REVIEW NOES AND PREPARE DECLARATION
FOR RETIREE 187338 (.8); REVIEW NOTES AND
PREPARE DECLARATION FOR RETIREE 1663123

(.8).

PHONE CALL WITH NORTEL RETIREE NO. 209427 04980/NJN
1543271. DISCUSSED DECLARATION IN

CONNECTION WITH NORTEL BANKRUPTCY

MOTION TO TERMINATION RETIREMENT

BENEFITS. UNWILLING TO ALLOW M&E TO

PROVIDE LIMITED REPRESENTATION FOR THE

PURPOSES OF DRAFTING A DECLARATION TO

THE BANKRUPTCY COURT.

8.30

0.70
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PHONE CALL WITH NORTEL RETIREE NO. 186667
54754 137892. DISCUSSED DECLARATION IN
CONNECTION WITH NORTEL BANKRUPTCY
MOTION TO TERMINATION RETIREMENT
BENEFITS. WILLING TO ALLOW M&E TO PROVIDE
LIMITED REPRESENTATION FOR THE PURPOSES
OF DRAFTING A DECLARATION TO THE
BANKRUPTCY COURT.

DRAFTING OF DECLARATION TO THE
BANKRUPTCY COURT FOR NORTEL RETIREE NO.
239977 222915 191448 191465 204736 IN
CONNECTION WITH NORTEL BANKRUPTCY
MOTION TO TERMINATION RETIREMENT
BENEFITS. DECLARATION WILL DETAIL. HOW
EACH RETIREE WILL AND HAS BEEN AFFECTED
BY THE ACTION OF NORTEL WHILE RETIREE AS
EMPLOYED BY NORTEL AND SUBSEQUENT TO
THE RETIREES RETIREMENT FROM NORTEL.

DRAFT DECLARATION FOR RETIREE 193528. (.2).
DRAFT RETIREE 188964 DECLARATION. (.8).
PREPARE FOR AND CALL RETIREE 187407.
VOICE MAIL. (.2). PREPARE FOR AND CALL
RETIREE 1583352. VOICE MAIL. (.2). CALL
RETIREE 188902. VOICE MAIL. (.2). CALL
RETIREE 187857. DISCUSS REPRESENTATION
TERMS. (.2). CORRESPONDENCE WITH RETIREE
187857. (.2). CALL RETIREE 197935. VOICE MAIL.

(.2).

EDITING AND REVISING DECLARATION FOR
RETIREE 188761 (0.1); FINALIZING AND SENDING
DECLARATION FOR RETIREE 1125006 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF RETIREE 195926 (0.4); CREATING RECORD OF
CALL WITH RETIREE 195926 (0.3); REVIEWING,
EDITING AND FINALIZING DECLARATION FOR
RETIREE 188541 (0.5); FINALIZING DECLARATION
FOR RETIREE 187726 (0.1); DISCUSSING,
EDITING, REVISING AND FINALIZING
DECLARATIONS FOR HUSBAND AND WIFE
RETIREES 195762 AND 195851 (0.5); ATTEMPTING
TO CONTACT RETIREE 227949 (0.1); CREATING
RECORD OF MESSAGE LEFT FOR RETIRE 227949
(0.1); PREPARING DRAFT DECLARATION FOR
RETIREE 507560 (0.5); CREATING RECORD OF
MESSAGE LEFT FOR RETIRE 245731 (0.1);
PREPARING DRAFT DECLARATION FOR RETIREE

04980/NJN

04980/NJN

03658/BPR

03749/J-R

1.20

2.80

2.00

6.20
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227481 (0.5); PREPARING FOR AND CONDUCTING
INTERVIEW OF RETIREE 191733 (0.3); CREATING
RECORD OF CALL WITH RETIREE 191733 (0.1);
PREPARING DRAFT DECLARATION FOR RETIREE
187136 (0.5); ATTEMPTING TO CONTACT RETIREE
1541683 (0.1); CREATING RECORD OF MESSAGE
LEFT FOR RETIRE 1541683(0.1); ATTEMPTING TO
CONTACT RETIREE 135129 (0.1); CREATING
RECORD OF UNSUCCESSFUL CALL TO RETIRE
135129 (0.1); CREATING RECORD OF MESSAGE
LEFT FOR RETIRE 187492 (0.1); PREPARING FOR
AND CONDUCTING INTERVIEW OF RETIREE
191100 (0.3); CREATING RECORD OF CALL WITH
RETIREE 191100 (0.3); PREPARING FOR AND
CONDUCTING INTERVIEW OF RETIREE 188786
(0.3); CREATING RECORD OF CALL WITH
RETIREE 188786 (0.3); ATTEMPTING TO CONTACT
RETIREE 1540173 (0.1); CREATING RECORD OF
UNSUCCESSFUL CALL TO RETIRE 1540173 (0.1);
CREATING RECORD OF UNSUCCESSFUL CALL
TO RETIRE 1586512 (0.1).

CALLS TO RETIREES 197071; 197624; 197594 - 02153/DAT
ALL NOT INTERESTED IN SIGNING DECLARATION
(0.5); CALL AND INTERVIEW OF 196643 (1.2);
COMPLETION OF INTERVIEW SHEET FOR
RETIREE 196643 (0.4); PREPARATION OF
DECLARATION FOR RETIREE 196643 (0.9); CALL
AND MESSAGE LEFT FOR RETIREES 197639:
197485; 196684 (0.4); CALL AND PARTIAL
INTERVIEW OF RETIREE 195996 (0.7); CALL AND
DISCUSSION WITH RETIREE 228029 (0.4); CALL
AND INTERVIEW OF 195597 (0.5); CREATION OF
SUB-FOLDERS AND FILING OF DECLARATIONS
DRAFTS AND EMAILS ON L-DRIVE (0.5):
UNSUCCESSFUL CALLS TO RETIREES195753;
196119; 196492: 196462: 197146; 197440; 197516;
194971; 195662: 196213; 197441; 196686; 197099
(1.1); REVIEW OF MOTION PAPERS FILED BY
NORTEL (0.5).

PREPARE FOR AND CALL TO RETIREE 191165 03589/MDV
(.1); PREPARE FOR AND CALL TO RETIREE

198862 (.1); PREPARE FOR AND CALL TO

RETIREE 204923 (.1); PREPARE FOR AND CALL

TO RETIREE 1133562 (.1); PREPARE FOR AND

CALL TO RETIREE 204630 (.1); PREPARE FOR

AND CALL TO RETIREE 200992 (.1); PREPARE

FOR AND CALL TO RETIREE 205407 (.1);

PREPARE FOR AND CALL TO RETIREE 191817

7.10

1.80
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08/24/12

08/24/12

08/25/12

(.1); PREPARE FOR AND CALL RETIREE 200287
(.1); PREPARE FOR AND CALL RETIREE 201741
(.1); PREPARE FOR AND CALL RETIREE 199606
(.1); PREPARE FOR AND CALL RETIREE 227518
(.3); INTERVIEW SHEET FOR RETIREE 227518 (.2);
CALL TO COUNSEL FOR RETIREE 227518 (.1);
RETURN CALL FROM COUNSEL FOR RETIREE
22518.

REVISE AND ELECTRONICALLY FILE REGARDING
TENTH MONTHLY FEE APPLICATION OF TOGUT
SEGAL & SEGAL; CONFRIM SERVICE OF SAME;

REVISE AND ELECTRONICALLY FILE REGARDING
NINTH MONTHLY FEE APPLICATION OF ALVAREZ
AND MARSAL; CONFIRM SERVICE OF SAME;

CONFER COUNSEL AND CO-COUNSEL
REGARDING COPY. AND SERVICE OF DISCOVERY
RESPONSES;

REVISE AND ELECTRONICALLY FILE NOTICE OF
SERVICE OF RESPONSES TO DEBTORS
INTERROGATORIES; CONFIRM SERVICE OF
SAME WITH DISCOVERY;

CONFER WITH COUNSEL REGARDING STATUS
AND RELATED DEADLINES TO FILING OF
MONTHLY AND QUARTERLY FEE APPLICATION
PAYMENTS;

REVISE AND ELECTRONICALLY FILE
REGARDING4TH QUARTERLY FEE APPLICATION
OF ALVAREZ AND MARSAL; CONFIRM SERVICE
OF SAME;

REVISE AND ELECTRONICALLY FILE REGARDING
TENTH MONTHLY FEE APPLICATION OF ALVAREZ
AND MARSAL; CONFIRM SERVICE OF SAME;

REVISE AND ELECTRONICALLY FILE NOTICE OF
SERVICE OF RESPONSES TO DEBTORS
REQUEST FOR PRODUCTION; CONFIRM SERVICE
OF SAME WITH DISCOVERY;

RECEIPT AND REVIEW OF EMAIL FROM RETIREE
185629 (.3); LEFT MESSAGE FOR RETIREE 217770
(.1); PHONE CALL WITH RETIREE 139372 (.1);

O4990/JFS

O04990/JFS

O04990/JFS

O04990/JFS

O4990/JFS

04990/JFS

04990/JFS

O04990/JFS

05172/JAK

0.70

0.50

0.40

0.40

0.50

0.50

0.50

0.40

6.30
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PHONE CALL TO RETIREE 511247 (.1); PHONE
CALL WITH RETIREE 193702 (.2); FOLLOW UP
PHONE CALL WITH RETIREE 139372 (.2); LEFT
MESSAGE FOR RETIREE 133776 (.1); PHONE
CALL TO RETIREE 287373 (.1); PHONE CALL TO
RETIREE 245027); PHONE CALL WITH DAUGHTER
OF RETIREE 227097 (.3); LEFT MESSAGE FOR
RETIREE 191684 (.1); LEFT MESSAGE FOR
RETIREE 69003 (.1); LEFT MESSAGE FOR
RETIREE 248732 (.1); PHONE CALL WITH RETIREE
227331 (.5); MAKE NOTES ON PHONE CALL WITH
RETIREE 227331 (.2); REVIEW NOTES AND
PREPARE DECLARATION FOR RETIREE 139372
(.8); REVIEW NOTES AND PREPARE
DECLARATION FOR RETIREE 246622 (.8); REVIEW
NOTES AND PREPARE DECLARATION FOR
RETIREE 689864 (.8); REVIEW NOTES AND
PREPARE DECLARATION FOR RETIREE 227331

(.8);.

DRAFTING OF DECLARATION FOR NORTEL
RETIREE NO. 186667 113142 201344 136872 54754
193266 191380 190956.

REVIEWING AND DRAFTING CORRESPONDENCE
RE: RETIREE DISCOVERY.

EXAMINATION OF CASE LAW REGARDING
WHETHER A PLAN ADMINISTRATOR'S
CONSISTENT AND LONG-STANDING OPERATION
OF A WELFARE PLAN IN A MANNER THAT
DISREGARDS AN ELIGIBILITY CONDITION SET
OUT IN THE PLAN DOCUMENT, WILL "TRUMP"
THE ACTUAL WORDING OF THE PLAN
DOCUMENT SUCH THAT THE PLAN WILL BE
DEEMED DE FACTO AMENDED TO ELIMINATE
THE ELIGIBILITY CONDITION.

EXAMINATION OF POST-CIGNA V. AMARA CASE
LAW FAVORABLE TO THE POSITION BEING
ASSERTED BY THE RETIREES.

PHONE CALL TO RETIREE 238386 (.1); LEFT
MESSAGE FOR RETIREE 193940 (.1); PHONE
CALL WITH RETIREE 193940 (.2); PHONE CALL
WITH RETIREE 193984 (.2); PHONE CALL TO
RETIREE 194118 (.1); LEFT MESSAGE FOR
RETIREE 194115 (.1); PHONE CALL TO RETIREE
194151 (.1); LEFT MESSAGE FOR RETIREE 227044
(.10; PHONE CALL WITH RETIREE 227398 (.5);

04980/NJN

01584/LAC

02298/JSK

02298/JSK

05172/JAK

4.20

0.90

4.00

2.25

2.70
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08/27/12

08/27/12

MAKE NOTES ON CONVERSATION WITH RETIREE
227398 (.2); LEFT MESSAGE FOR RETIREE 194074
(.1); PHONE CALL WITH RETIREE 2387852 (.1);
PHONE CALL TO A RETIREE 227385 (.1); PHONE
CALL TO RETIREE 226916 (.1); PHONE CALL TO
RETIREE 238405 (.1); PHONE CALL TO RETIREE
194262 (.1); PHONE CALL TO RETIREE 228062 (.1);
PHONE CALL WITH RETIREE 193911 (.2).

REVIEWING AND DRAFTING CORRESPONDENCE
WITH TEAM RE: RETIREE DISCOVERY.

CONSIDER ISSUES RELATED TO DECLARATION
PROJECT AND STATUS OF SAME.

CONSIDER JA (M&E) INQUIRY WITH RESPECT TO
RELIANCE ISSUE WITH RESPECT TO CERTAIN
DECLARANTS; REVIEW AND CONSIDER J.
KIMBALL MEMO/COMMUNICATION WITH
RESPECT TO SAME.

REVIEW AND CONSIDER TOMLINSON V. EL PASO
(653 F. 3D. 1281).

CONSIDER AND CONFER WITH RESPECT TO
FUTURE ACTION RELATED TO LINGUISTIC,
ACTUARIAL AND STATISTICS EXPERTS;
CONTINUED ORGANIZE MATERIALS FOR
POTENTIAL TRANSMISSION TO LINGUISTICS
EXPERTS.

EXAMINE AND ANALYZE NORTEL'S RESPONSES
AND OBJECTIONS TO THE DOCUMENT
REQUESTS PROPOSED BY THE RETIREE
COMMITTEE.

EXAMINE AND ANALYZE NORTEL'S RESPONSES
AND OBJECTIONS TO THE INTERROGATORIES
PROPOSED BY THE RETIREE COMMITTEE.

CORRESPOND WITH A&M RE NEED TO AMEND
THEIR QUARTERLY APPLICATION DUE TO
ERRORS WITH SAME.

EXAMINE AND ANALYZE PROPOSED CNO FOR
MCCARTER 11TH MONTHLY; DRAFT, REVISE AND
FINALIZE FOR FILING.

01584/LAC

0484 1/NMI

00286/ALN

00286/ALN

00286/ALN

02718/WFT

02718/WFT

027718/WFT

02718/WFT

1.50

0.80

0.40

0.40

2.10

0.50

0.50

0.30

0.30
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08/27/12 EXAMINE AND ANALYZE THE OBJECTION OF THE 02718/WFT 0.30
LTD COMMITTEE TO FILING CERTAIN MATTERS
UNDER SEAL OF THE COURT.

08/27/12 EXAMINE AND ANALYZE PROPOSED 3RD 02718/WFT 0.40
QUARTERLY APPLICATION OF TS&S; DRAFT,
REVISE AND FINALIZE SAME FOR FILING.

08/27/12 CONTINUED EXAMINATION OF POST-AMARA 02298/JSK 4.00
CASE LAW RELEVANT TO THE ISSUE WHETHER
THE RETIREES MUST ESTABLISH RELIANCE OR
DETRIMENTAL RELIANCE AS AN ELEMENT OF
THEIR CAUSE OF ACTION.

08/27/12 EXAMINATION OF CASE LAW ESTABLISHING 02298/JSK 4.75
THAT IF A PLAN SPONSOR CONSISTENTLY
OPERATES A PLAN IN A MANNER INCONSISTENT
WITH THE TERMS OF THE PLAN, THE
CONTINUED OPERATION OF THE PLAN IN SUCH
MANNER TRUMPS THE ACTUAL WORDING OF
THE PLAN DOCUMENT.

08/27/12 RECEIPT AND REVIEW OF EMAIL AND REVISED 02323/JMA 1.00
DOCUMENT FROM RETIREE 242451 AND
RESPONSIVE EMAIL (.3); RECEIPT AND REVIEW
OF MATERIALS FROM RETIREE 118814 (.2);
INTERNAL EMAILS REGARDING LEGAL
POSITIONS AND THEORIES (.2); INTERNAL
DISCUSSIONS REGARDING RETIREE CONTACT
INFORMATION (.1); INTERNAL EMAILS
REGARDING STAFFING ON PROJECT (.2).

08/27/12 EXAMINE AND ANALYZE ORDER GRANTING 03706/KRB 0.30
DEBTORS' MOTION FOR ENTRY OF AN ORDER
AUTHORIZING THE DEBTORS TO FILE UNDER
SEAL.

08/27/12 EXAMINE AND ANALYZE NORTEL'S RESPONSES 03706/KRB 0.80
AND OBJECTIONS TO RETIREE COMMITTEE'S
ROGS AND RFP.

08/27/12 PREPARING FOR TELEPHONE INTERVIEW AND 04537/NEC 0.20
LEAVING MESSAGE FOR NORTEL RETIREE ID
191966.

08/27/12 CORRESPONDENCE WITH RETIREE. 04537/NEC 0.20
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08/27/12 PREPARING FOR TELEPHONE INTERVIEW AND 04537/NEC 0.20
LEAVING MESSAGE FOR NORTEL RETIREE ID
201766.
08/27/12 CREATING RECORD OF CALL. 04537/NEC 0.10
08/27/12 PREPARING FOR TELEPHONE INTERVIEW AND 04537/NEC 0.20
LEAVING MESSAGE FOR NORTEL RETIREE ID
200147.
08/27/12 REVIEW OF INSTRUCTIONS FOR 04537/NEC 0.70
REPRESENTATION OF BENEFITS COMMITTEE
AND CALLS TO RETIREES
08/27/12 PREPARING FOR TELEPHONE INTERVIEW AND 04537/NEC 0.20
LEAVING MESSAGE FOR NORTEL RETIREE ID
190978.
08/27/12 CREATING RECORD OF CALL. 04537/NEC 0.10
08/27/12 PREPARING FOR TELEPHONE INTERVIEW AND 04537/NEC 0.20
LEAVING MESSAGE FOR NORTEL RETIREE ID
190593.
08/27/12 CREATING RECORD OF CALL. 04537/NEC 0.10
08/27/12 CREATING RECORD OF CALL. 04537/NEC 0.10
08/27/12 PREPARING FOR TELEPHONE INTERVIEW AND 04537/NEC 0.70
CONDUCTING TELEPHONE INTERVIEW FOR
NORTEL RETIREE ID 191885
08/27/12 REVIEW OF SCRIPT FOR CONVERSATION AND 04537/NEC 0.80
INSTRUCTIONS FOR HOW TO DOCUMENT AND
LOG INFORMATION OBTAINED FROM CALLS
WITH RETIREES.
08/27/12 PREPARATION OF DRAFT DECLARATION FOR 04537/NEC 0.50
RETIREE AND PROVIDING SAME FOR REVIEW
AND COMMENT.
08/27/12 CREATING RECORD OF CALL. 04537/NEC 0.10
08/27/12 CREATING RECORD OF CALL. 04537/NEC 0.20
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08/27/12 DRAFTED AND SUBMITTED DAILY SUMMARY OF 04575/B-C 0.10
CALLS TO LOU CHIAFULLO.

08/27/12 REVIEWED AND EDITED DRAFT DECLARATION 04575/B-C 7.70
RETURNED BY RETIREE NO. 200134 AND
FORWARDED SAME TO RETIREE FOR
SIGNATURE COMMUNICATION (1.1);
COMMUNICATIONS WITH NORTEL RETIREE ID
NO. 233124 REGARDING EDITS TO THE DRAFT
DECLARATION (.1); COMMUNICATIONS WITH
NORTEL RETIREE ID NO. 200497 REGARDING
EDITS TO DRAFT DECLARATION (.2); PREPARED
FOR AND CONDUCTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 185652 (.4); CREATED
RECORD OF CALL FOR RETIREE ID NO. 185652

. (.1); PREPARED FOR AND ATTEMPTED PHONE
INTERVIEW WITH NORTEL RETIREE ID NO.
185652 (.1); PREPARED FOR AND CONDUCTED
PHONE INTERVIEW WITH NORTEL RETIREE ID
NO.199832 (.3); PREPARED FOR AND
CONDUCTED PHONE INTERVIEW WITH NORTEL
RETIREE ID NO. 215754 (.2); PREPARED RECORD
OF CALL FOR ID NO. 215754 (.1); PREPARED FOR
AND ATTEMPTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 188533 (.1); PREPARED
FOR AND ATTEMPTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 206156 (.1); PREPARED
FOR AND ATTEMPTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 199761 (.1); PREPARED
FOR AND CONDUCTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO.1507604 (.2); CREATED
RECORD OF CALL FOR ID NO. 1507604 (.1);
PREPARED FOR AND CONDUCTED CALL BACK
INTERVIEW WITH NORTEL RETIREE ID NO.
1213749 AND COMPLETED INTERVIEW SHEET
REGARDING SAME (.6); CREATED RECORD OF
CALL FOR ID NO. 1213749 (.1); COMMENCED
DRAFTING OF DECLARATION FOR ID NO. 1213749
(1.1); PERFORMED EDITS TO DRAFT
DECLARATION RETURNED BY NORTEL RETIREE
ID NO. 200497 AND RETURNED SAME TO
RETIREE FOR REVIEW (.5); PREPARED FOR AND
CONDUCTED PHONE INTERVIEW WITH NORTEL
RETIREE ID NO. 188533 (.8); COMMENCED
DRAFTING OF DECLARATION FOR ID NO. 188533

(1.1).

08/27/12 FOLLOW-UP TELEPHONE CONFERENCE WITH 03262/CWD 0.50
RETIREE 187153 AND CONSIDERATION OF
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ISSUES RE DECLARATION FROM SAME.

COMMUNICATION WITH TEAM RE SPECIFIC
ISSUES ARISING IN RESPECT OF RETIREE-
CONTACT PROTOCOL.

RECEIVED AND REVIEWED ORIGINAL
DECLARATION FROM RETIREE 193403.

PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 205495 (0.6):
PREPARING DRAFT DECLARATION FOR RETIREE
205495 AND PROVIDING SAME TO RETIREE FOR
REVIEW AND COMMENT (0.9); CREATING
RECORD OF CALL AND CORRESPONDENCE (0.4);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 198932 (0.3);
PREPARING DRAFT DECLARATION FOR RETIREE
198932 AND PROVIDING SAME TO RETIREE FOR
REVIEW AND COMMENT (0.8); CREATING
RECORD OF CALL AND CORRESPONDENCE (0.2):
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 198799 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO 213023 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 212578 (0.1):
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 1556013 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 186480 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 1585989 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 198261 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 202124 (0.1):
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 200667 (0.2);
PREPARING FOR AND CONDUCTING INTERVIEW
OF NORTEL RETIREE, ID NO. 200644 (0.7);
PREPARING DRAFT DECLARATION FOR RETIREE
200644 AND PROVIDING SAME TO RETIREE FOR
REVIEW AND COMMENT (0.7); CREATING
RECORD OF CALL AND CORRESPONDENCE (0.3);
SUMMARIZING CALL ACTIVITY (0.2)

PREPARING DECLARATION FOR RETIREE NO.
243426 (0.2); PREPARING COVER LETTER AND
SENDING DECLARATION TO RETIREE NO. 243426

03262/CWD

03262/CWD

03698/RJH

04585/BDK

0.60

0.20

5.90

8.50
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(0.3); REVIEWING MATERIALS SENT BY RETIREE
NO. 226838 (0.5); CREATING RECORD OF
MATERIALS FROM RETIREE NO. 226838 (0.4):
PREPARING FOR AND CALLING RETIREE NO.
186649 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 189423 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 189112 (0.1); PREPARING
FOR CALL AND SPEAKING WITH RETIREE NO.
241749 (0.3); CREATING RECORD OF CALL FOR
RETIREE NO. 241749 (0.2); PREPARING FOR AND
INTERVIEWING RETIREE NO. 196439 (0.8);
CREATING RECORD OF CALL WITH RETIREE NO.
196439 (0.2); DRAFTING AND SENDING
DECLARATION TO RETIREE NO. 196439 (1.0);
SPEAKING WITH RETIREE NO. 226838
REGARDING FOLLOW-UP TO DECLARATION (0.2);
CONFERRING WITH M&E ATTORNEYS
REGARDING ISSUES RELATING TO RETIREE
INTERVIEWS (0.3); PREPARING FOR AND
CALLING RETIREE NO. 195819 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 196532 (0.1);
PREPARING FOR CALL AND SPEAKING WITH
RETIREE NO. 196843 (0.2); CREATING RECORD
OF CALL FOR RETIREE NO. 196843 (0.2);
PREPARING FOR AND CALLING RETIREE NO.
196294 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 197106 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 197582 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 234895 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
197703 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 111563 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 196143 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 196758 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
197546 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 195642 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 197599 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 4711061 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
196491 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 195641 (0.1); PREPARING FOR CALL
AND INTERVIEWING RETIREE NO. 197349 (0.6);
CREATING RECORD OF CALL FOR RETIREE NO.
197349 (0.2); COMMUNICATING WITH M&E
ATTORNEYS REGARDING STATUS REPORT FOR
RETIREE INTERVIEWS (0.2).

REVIEW NOTES AND PREPARE DECLARATION 05172/JAK
FOR RETIREE 227398 (.7); PHONE CALL W
RETIREE 223261 (.1); RESPOND TO QUESTION

7.70
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FROM RETIREE 190649 RE DECLARATION (.2);
PHONE CALL WITH RETIREE 248732 (.2); RECEIPT
AND REVIEW OF RETIREMENT DOCUMENTS
FROM RETIREE 187338 AND REVISE
DECLARATION (.7); PHONE CALL WITH RETIREE
187338 (.1); LEFT MESSAGE FOR RETIREE 226996
(.1); PHONE CALL TO RETIREE 194186 (.1); LEFT
MESSAGE FOR RETIREE 237960 (.1); LEFT
MESSAGE FOR RETIREE 192772 (.1); PHONE
CALL TO RETIREE 192432 (.1); PHONE CALL TO
RETIREE 243195 (.1); LEFT MESSAGE FOR
RETIREE 192946 (.1); LEFT MESSAGE FOR
RETIREE 51621 (.1); PHONE CALL WITH RETIREE
223298, REVISE DECLARATION (.4); PHONE CALL
WITH RETIREE 192930 (.5); MAKE NOTES ON
CONVERSATION WITH RETIREE 192930 (.2);
PHONE CALL W RETIREE 192772 (.2); PHONE
CALL W RETIREE 192253 (.2); LEFT MESSAGE
FOR RETIREE 206080 (.1); LEFT MESSAGE FOR
RETIREE 226825 (.1); PHONE CALL TO RETIREE
191866 (.1); PHONE CALL TO RETIREE 191834 (.1);
PHONE CALL W RETIREE 192056 (.2); LEFT
MESSAGE FOR RETIREE 115283 (.1); LEFT
MESSAGE FOR RETIREE 192690 (.1); LEFT
MESSAGE FOR RETIREE 192003 (.1); LEFT
MESSAGE FOR RETIREE 192414 (.1); LEFT
MESSAGE FOR RETIREE 56354 (.1); REVIEW
NOTES AND PREPARE DECLARATION FOR
RETIREE 192930 (.7); PHONE CALL W RETIREE
191708 (.2); RECEIPT AND REVIEW OF
RETIREMENT DOCS FROM RETIREE 1626214 AND
REVISE DECLARATION (.4); REVIEW OF
DOCUMENTS FROM RETIREE 201451 AND
REVISE DECLARATION (.4); PREPARE CONSENT
ORDER FOR APPOINTMENT OF RECEIVER (.3).

CONFER WITH COLLEAGUES (.6); PLACE CALLS 04867/CMM
TO RETIREES INCLUDING GEORGE SCHUH (.8); J.

KRUEGER (.1); P. SKOGEN (.1); F. GRAHAM (.1); J.

EDGELL (.1); S. HARDER (.1); T. KOCH (.1); T.

SERBUS (.1); M. RUHLAND (.2); G. NASS (.1); C.

UECKER (.2); R. OLSON (.1); D. THORNTON (.1): V.

BEUTELL (.1); REVIEW AND PREPARE SCHUH

DECLARATION (1.1).

PHONE CALL WITH NORTEL RETIREE NO. 190751. 04980/NJN
DISCUSSED DECLARATION IN CONNECTION

WITH NORTEL BANKRUPTCY MOTION TO

TERMINATION RETIREMENT BENEFITS.

UNWILLING TO ALLOW M&E TO PROVIDE LIMITED

4.00

0.30
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DATE

NORTEL NETWORKS

DESCRIPTION ATTY

HOURS

08/27/12

08/27/12

08/27/12

08/27/12

REPRESENTATION FOR THE PURPOSES OF
DRAFTING A DECLARATION TO THE
BANKRUPTCY COURT. RETIREE BELIEVES THEY
ARE NOT ENTITLED TO NORTEL BENEFITS.
RETIREE IS IN_LONG TERM CARE FACILITY AND
COULD NOT SPEAK. DIANE (WIFE) HAS POWER
OF ATTORNEY AND WOULD LIKE BENEFITS TO
CONTINUE.

PHONE CALL WITH NORTEL RETIREE NO. 206717 04980/NJN
187524 192207 188310 200975 204755 DISCUSSED
DECLARATION IN CONNECTION WITH NORTEL

BANKRUPTCY MOTION TO TERMINATION

RETIREMENT BENEFITS. WILLING TO ALLOW

M&E TO PROVIDE LIMITED REPRESENTATION

FOR THE PURPOSES OF DRAFTING A

DECLARATION TO THE BANKRUPTCY COURT.

REVISION OF DRAFT DECLARATION FOR 04980/NJN
NORTEL RETIREE NO. 113142 IN CONNECTION

WITH NORTEL BANKRUPTCY MOTION TO

TERMINATION RETIREMENT BENEFITS.

DECLARATION WILL DETAIL HOW EACH RETIREE

WILL AND HAS BEEN AFFECTED BY THE ACTION

OF NORTEL WHILE RETIREE AS EMPLOYED BY

NORTEL AND SUBSEQUENT TO THE RETIREES

RETIREMENT FROM NORTEL.

PHONE CALL WITH NORTEL RETIREE NO. 191678 04980/NJN
134630 1540449 188937 188071 1584265 1688471
TO DISCUSS DECLARATION IN CONNECTION
WITH NORTEL BANKRUPTCY MOTION TO
TERMINATION RETIREMENT BENEFITS. RETIREE
WAS NOT AVAILABLE THEREFORE | LEFT A
VOICEMAIL MESSAGE INDICATING MY REASON
FOR THE CALL, ASKING THE RETIREE TO
CONTACT ME AS SOON AS POSSIBLE, AND THAT
| WOULD BE ATTEMPTING TO CONTACT THE
RETIREE IN THE NEXT DAY OR SO.

PHONE CALL WITH NORTEL RETIREE NO. 04980/NJN
1543271. DISCUSSED DECLARATION IN

CONNECTION WITH NORTEL BANKRUPTCY

MOTION TO TERMINATION RETIREMENT

BENEFITS. UNWILLING TO ALLOW M&E TO

PROVIDE LIMITED REPRESENTATION FOR THE

PURPOSES OF DRAFTING A DECLARATION TO

THE BANKRUPTCY COURT. RETIREE BELIEVES

THEY ARE NOT ENTITLED TO NORTEL BENEFITS.

3.30

0.50

0.20

0.50
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REVIEW DOCUMENTS FROM RETIREE 188966. 03658/BPR
(1.1). REVIEW VOICE MAIL FROM RETIREE
213915. (.1). CORRESPONDENCE WITH RETIREE
188966. (.1) REVIEW DOCUMENTS FROM
RETIREE 213915. (.4). REVISE RETIREE 188966
DECLARATION. (.4) CORRESPONDENCE WITH
RETIREE 188966. (.6) REVIEW MESSAGE FROM
RETIREE 1583352. (.1) REVIEW MESSAGE FROM
RETIREE 188902. (.1) REVIEW MESSAGE FROM
RETIREE 754855 (.1) CORRESPONDENCE WITH
RETIREE 197690. (.1) REVIEW MESSAGE FROM
RETIREE 105209. (.1) REVISE DECLARATION FOR
RETIREE 188966 BASED ON NEW DOCUMENTS.
(.4). PREPARE FOR AND CALL RETIREE 1583352.
VM (.2). CONFERENCE WITH RETIREE 188902 (.8)
CONFERENCE WITH RETIREE 754855. (.5).
DRAFT CORRESPONDENCE TO RETIREE 754855.
(.2) CONFERENCE WITH RETIREE 105209. (.6).

EDITING AND REVISING DECLARATION FOR 03749/J-R
RETIREE 188761 (0.2); REVIEWING FINAL
DECLARATION FOR RETIREE 188326 (0.1);
DISCUSSING AND EDITS AND REVISIONS TO
DECLARATION WITH RETIREE 188317 (0.2);
PREPARING DRAFT DECLARATION FOR RETIREE
195926 (0.5); CONFERRING WITH RETIREE 507560
REGARDING EDITS AND REVISIONS TO DRAFT
DECLARATION (0.3); CONFERRING WITH
RETIREE 1544727 REGARDING EDITS AND
REVISIONS TO DRAFT DECLARATION (0.2);
PREPARING DRAFT DECLARATION FOR RETIREE
191100 (0.5); CONFERRING WITH RETIREE 191100
REGARDING EDITS TO DRAFT DECLARATION
(0.1); PREPARING DRAFT DECLARATION FOR
RETIREE 188786 (0.5); PREPARING FOR AND
CONDUCTING INTERVIEW OF RETIREE 188996
(0.5); CREATING RECORD OF CALL TO RETIREE
188996 (0.3); ATTEMPTING TO CONTACT RETIREE
320653 (0.1); CREATING RECORD OF MESSAGE
LEFT FOR RETIREE 320653 (0.1); PREPARING
FOR AND CONDUCTING INTERVIEW OF RETIREE
187077 (0.2); CREATING RECORD OF MESSAGE
LEFT FOR RETIREE 187634 (0.1); ATTEMPTING TO
CONTACT RETIREE 197721 (0.1); CREATING
RECORD OF UNSUCCESSFUL CALL TO RETIREE
197721 (0.1); PREPARING FOR AND CONDUCTING
INTERVIEW OF RETIREE 195442 (0.3); CREATING
RECORD OF CALL TO RETIREE 195442 (0.3);
PREPARING FOR AND CONDUCTING INTERVIEW
OF RETIREE 214901 (0.2); ATTEMPTING TO

5.90

5.80

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CONTACT RETIREE 320653 (0.1); CREATING
RECORD OF MESSAGE LEFT FOR RETIREE
324655 (0.1); ATTEMPTING TO CONTACT RETIREE
1138397 (0.1); CREATING RECORD OF MESSAGE
LEFT FOR RETIREE 1138397 (0.1); ATTEMPTING
TO CONTACT RETIREE 195664 (0.1); CREATING
RECORD OF UNSUCCESSFUL CALL TO RETIREE
195664 (0.1); PREPARING FOR AND CONDUCTING
INTERVIEW OF RETIREE 36384 (0.2); CREATING
RECORD OF MESSAGE LEFT FOR RETIREE
195793 (0.1).

PREPARING FOR AND CONDUCTING TELEPHONE _—03648/VDR
INTERVIEW OF RETIREE NO. 226831 (.8);
CREATING RECORD OF CALL AND
CORRESPONDENCE (.2); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
RETIREE NO. 512055 (.5), ; CREATING RECORD
OF CALL AND CORRESPONDENCE (.2);
PREPARING FOR AND LEAVING TELEPHONE
MESSAGES FOR THREE RETIREES, NOS. 193805,
193424 AND 191767 (.6); CREATING RECORD OF
CALL AND CORRESPONDENCE FOR RETIREE
NO. 222624 (.2).

RETURN CALL TO RETIREE 915996 (0.4); RETURN —-02153/DAT
CALL TO RETIREE 196643 (0.3); REVISION OF
DECLARATION FOR RETIREE 196643 (0.5):
PREPARATION OF CORRESPONDENCE TO
196643 (0.2); REVIEW OF, PREPARATION FOR
COPYING AND FILING OF DOCUMENTS.
RECEIVED FROM RETIREE 242235 (0.9); REVIEW
AND FILING OF DECLARATION FROM RETIREE
242235 (0.2); CALLS AND MESSAGES LEFT FOR
RETIREES 235647, 207250, 197515, 234253,
197470, 195695, 197643 (0.8); CALL AND
INTERVIEW OF RETIREE 215143 (1.2);
PREPARATION OF INTERVIEW SHEET AND
FILING OF SAME (0.3); PREPARATION OF
DECLARATION (0.8); PREPARATION OF AND
FILING OF CORRESPONDENCE TO SEND
DECLARATION TO RETIREE 215143 (0.3); CALL
AND DISCUSSION WITH RETIREE 197560 (0.4):
CALL AND DISCUSSION WITH RETIREE 243773
(0.4); CREATION OF SUB-FOLDER AND
PREPARATION OF INTERVIEW SHEET FOR
RETIREE 243773 (0.3); UNSUCCESSFUL CALLS TO
RETIREES 197617, 196211, 195915, 205649,
197643, 228021, 197601 (0.4).

2.50

7.40
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08/27/12 EMAIL TO COUNSEL FOR RETIREE 227518 (.2):
COMPILE/REVIEW LIST OF RETIREES TO
FOLLOW-UP WITH (.1); CALL TO RETIREE 199606
(.4); COMPLETE INTERVIEW SHEET FOR RETIREE
199606 (.2); DRAFT DECLARATION FOR RETIREE
199606 (.4); EMAIL RETIREE 199606 (.1); CALL TO
RETIREE 193064 (.1); CALL TO RETIREE 193743
(.1); CALL TO RETIREE 203877 (.1); CALL TO
RETIREE 232230 (.1); CALL TO RETIREE 192157
(.3); CALL TO RETIREE 228047 (.1); INTERVIEW
SHEET FOR 192427 (.1); CALL TO RETIREE 202138
(.1); COMPLETE INTERVIEW SHEET FOR RETIREE
202138 (.1); CALL TO RETIREE 190915 (.1); CALL
TO RETIREE 188567 (.1); CALL TO RETIREE
242583 (.1); CALL TO RETIREE 243089 (.1); CALL
TO RETIREE 322453 (.1); CALL TO RETIREE
203635 (.1); CONFER WITH COLLEAGUES
REGARDING STATUS AND STRATEGY (.2);
PREPARE STATUS UPDATE (.1).

08/27/12 REVIEW AND ORGANIZE INTERVIEW
DOCUMENTS RECEIVED FROM TEAM.

08/27/12 REVISE AND ELECTRONICALLY FILE REGARDING
THIRD QUARTERLY FEE APPLICATION OF TOGUT
SEGAL & SEGAL; CONFIRM SERVICE OF SAME;

08/27/12 PREPARE AND ELECTRONICALLY FILE
CERTIFICATE OF NO OBJECTION REGARDING
ELEVENTH MONTHLY FEE APPLICATION OF
MCCARTER & ENGLISH; PREPARE SERVICE OF
SAME;

08/28/12 REVIEWING AND DRAFTING CORRESPONDENCE
RE: RETIREE DISCOVERY.

08/28/12 CONFERRING WITH NEIL BERGER REGARDING
THE STATUS OF SETTLEMENT NEGOTIATIONS
AND THE MOTION TO TERMINATE.

08/28/12 CONFERRING WITH RESPECT TO THE CASE LAW
REGARDING WHEN A PRACTICE BY AN
EMPLOYER SPONSOR OF A PLAN TRUMPS THE
PLAN DOCUMENT LANGUAGE; REVIEW OF
ESTOPPEL ARGUMENTS.

08/28/12 REVIEW MULTIPLE EMAILS RE: STATUS OF
DECLARATIONS.

03589/MDV

00535/D-B

04990/JFS

04990/JFS

01584/LAC

00952/MAD

00952/MAD

04841/NMI

3.40

1.00

0.50

0.70

1.60

0.30

0.50

0.80
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08/28/12 REVIEW DECLARATIONS. 00286/ALN 0.60
08/28/12 ATTEND TO RETIREE DECLARATION ISSUES. 00286/ALN 2.20
08/28/12 PREPARE FOR TOGUT MEETING. 00286/ALN 0.70
08/28/12 PREPARE COMMUNICATION TO TOGUT. 00286/ALN 0.40
08/28/12 FURTHER CONSIDERATION OF CASE LAW 00286/ALN 0.60
RELATED TO RELIANCE AND AFFECT ON
DECLARATIONS.
08/28/12 CONSIDER NUMEROUS ISSUES WITH COUNSEL 00286/ALN 0.60
MAKING CALLS AND RETIREE INQUIRIES.
08/28/12 EXAMINE AND ANALYZE RECEIPT FOR 02718/WFT 0.30
ACCEPTANCE OF THE A&M REVISED 4TH
QUARTERLY FEE APPLICATION AND
CORRESPOND AND UPDATE A&M RE STATUS OF
SAME.
08/28/12 FURTHER CORRESPOND WITH DEBTORS AND 02718/WFT 0.30
LTD COMMITTEE RE AMENDING SCHEDULING
ORDER AND CERTIFICATION OF SAME WITH
COURT.
08/28/12 CALL WITH A&M TO DISCUSS DEFICIENCIES IN 02718/,WFT 0.10
A&M FEE APPLICATIONS.
08/28/12 CALL WITH TS&S RE AMENDING SCHEDULING 02718AVFT 0.30
ORDER AND CERTIFICATION OF SAME.
08/28/12 REVISE THE A&M FEE APPLICATION BASED 02718/WFT 0.30
UPON THE CALL WITH A&M TO DISCUSS AND :
GET APPROVAL OF AMENDED QUARTERLY FEE
APPLICATION.
08/28/12 CORRESPOND WITH KCC AND WITH A&M RE 02718/WFT 0.30
SERVICE ISSUES FOR THE A&M REVISED 4TH
QUARTERLY FEE APPLICATION.
08/28/12 DRAFT REVISED (AMENDED) FOURTH 02718/WFT 2.50

QUARTERLY APPLICATION OF A&M TO CORRECT
FOR ERRORS CONTAINED IN THE ORIGINAL
APPLICATION; CORRESPOND ACCORDINGLY.
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08/28/12 CALL WITH A&M TO DISCUSS AND GET 02718/WFT 0.20
APPROVAL OF AMENDED QUARTERLY FEE
APPLICATION.
08/28/12 CALL WITH DEBTORS TO DISCUSS DEFICIENCIES 02718/WFT 0.10

IN A&M FEE APPLICATIONS.

08/28/12 CALL WITH DEBTORS RE AMENDING 0271 8/WFT 0.30
SCHEDULING ORDER AND CERTIFICATION OF
SAME WITH COURT.

08/28/12 CONTINUED EXAMINATION OF CASE LAW 02298/JSK 2.00
SUPPORTING THE PROPOSITION THAT WHERE A
PLAN SPONSOR CONSISTENTLY OPERATES ITS
WELFARE PLAN IN A MANNER INCONSISTENT
WITH THE ORIGINAL TERMS OF THE PLAN, THE
PLAN WILL BE DEEMED TO HAVE BEEN
EFFECTIVELY AMENDED TO ELIMINATE THE
CONFLICTING UNENFORCED PLAN TERM OR
THE SPONSOR WILL BE ESTOPPED FROM
ENFORCING THE PLAN TERM.

08/28/12 PREPARING FOR AND CONDUCTING TELEPHONE 02323/JMA 6.30
INTERVIEW OF RETIREE 243013 (.7); CREATING
RECORD OF CALL AND CORRESPONDENCE (.1);
PREPARING FOR AND CONDUCTING PARTIAL
TELEPHONE INTERVIEW OF RETIREE 242223 (.5);
CREATING RECORD OF CALL AND
CORRESPONDENCE (.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
RETIREE, 193434 (.8); CREATING RECORD OF
CALL AND CORRESPONDENCE (.1); ATTEMPTING
TO CONTACT BY TELEPHONE RETIREE 210875
(.1); ATTEMPTING TO CONTACT BY TELEPHONE
RETIREE 242331 (.1); TELEPHONE CALL AND
RECEIPT OF DOCUMENTS FROM RETIREE
227193 (.3); MESSAGE FROM RETIREE 242855
(.1); INTERNAL EMAILS REGARDING ISSUES WITH
RESPECT TO SURVIVING SPOUSES (.2); RECEIPT
OF EMAILS AND TELEPHONE CALL FROM
RETIREE 193435 REGARDING CHANGES TO
DECLARATION (.4); EMAIL FROM RETIREE 244667
AND PREPARING DRAFT DECLARATION AND
EMAIL TO HIM (1.0); RECEIPT AND REVIEW OF
DECLARATION FROM 242451 (.1); RESPONSIVE
EMAILS AND REVISING DECLARATION (.7);
PREPARING DRAFT DECLARATION FOR RETIREE
227193 AND SENDING SAME BY EMAIL (1.0).
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08/28/12 CORRESPONDENCE WITH CO-COUNSEL AND 03706/KRB 0.30
DEBTORS' COUNSEL RE EMERGENCY
TELECONFERENCE TO EXTEND SCHEDULING
ORDER.

08/28/12 EXAMINE AND ANALYZE PROPOSED AMENDED 03706/KRB 0.30
SCHEDULING ORDER AND CERTIFICATION OF
COUNSEL RE SAME.

08/28/12 PREPARATION OF DRAFT DECLARATION FOR 04537/NEC 0.50
RETIREE AND PROVIDING SAME TO RETIREE
FOR REVIEW AND COMMENT.

08/28/12 CREATION OF RECORD OF CALL AND 04537/NEC 0.20
CORRESPONDENCE.

08/28/12 DRAFTING AND PREPARATION OF LETTER TO 04537/NEC 0.30
RETIREE RE: SUBMISSION OF RELEVANT
DOCUMENTS.

08/28/12 TELEPHONE CALL AND INTERVIEW WITH 04537/NEC 0.40
NORTEL RETIREE NO, 130736.

08/28/12 PREPARATION AND CONDUCTING TELEPHONE 04537/NEC 0.30
INTERVIEW OF NORTEL RETIREE NO. 207394.

08/28/12 CREATION OF RECORD RE SAME. 04537/NEC 0.20

08/28/12 TELEPHONE CALL WITH RETIREE NO. 191966 04537/NEC 0.30
REGARDING NORTEL BANKRUPTCY AND
BENEFITS AND HR DEPARTMENT.

08/28/12 DRAFTING AND PREPARATION OF LETTER TO 04537/NEC 0.20
RETIREE REGARDING BENEFITS LITERATURE
FOR SUBMISSION.

08/28/12 TELEPHONE CALL AND INTERVIEW WITH 04537/NEC 0.20
NORTEL RETIREE NO. 19154.

08/28/12 PREPARING FOR AND LEAVING MESSAGE WITH 04537/NEC 0.30
NORTEL RETIREE 206169.

08/28/12 PREPARING FOR AND LEAVING MESSAGE WITH 04537/NEC 0.30
NORTEL RETIREE 130736.

08/28/12 PREPARING FOR AND LEAVING MESSAGE WITH 04537/NEC 0.20
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NORTEL RETIREE 243171.

08/28/12 CREATION OF RECORD OF CALL AND 04537/NEC 0.20
CORRESPONDENCE RE SAME.

08/28/12 TELEPHONE CALL AND INTERVIEW WITH 04537/NEC 0.30
NORTEL RETIREE NO. 190477.

08/28/12 CREATION OF RECORD OF CALL AND 04537/NEC 0.20
CORRESPONDENCE RE SAME.

08/28/12 PREPARING FOR AND LEAVING MESSAGE WITH 04537/NEC 0.30
NORTEL RETIREE 191954.

08/28/12 COMMUNICATIONS AND CREATION OF RECORD 04537/NEC 0.30
RE HR DEPARTMENT EMPLOYMENT OF RETIREE.

08/28/12 PREPARATION AND CONDUCTING TELEPHONE 04537/NEC 0.80
INTERVIEW OF NORTEL RETIREE NO 190491.

08/28/12 CORRESPONDENCE TO NORTEL TEAM 04537/NEC 0.20
REGARDING STATUS OF PERSON LAID OFF AND
ABILITY TO ASSIST WITH DECLARATION.

08/28/12 COMMUNICATIONS WITH NORTEL RETIREE ID 04575/B-C 2.40
NO. 200497 REGARDING OBTAINING THE SIGNED
ORIGINAL DECLARATION (.1); COMPLETED
DRAFTING OF DECLARATION FOR RETIREE ID
NO. 188533 AND FORWARDED SAME TO RETIREE
FOR REVIEW (.5); COMMUNICATIONS WITH
NORTEL ID NO. 204835 CONFIRMING RECEIPT OF
SIGNED ORIGINAL DECLARATION (.1);
COMPLETED INTERVIEW SHEET FOR ID NO.
200134 AND CONFIRMED RECEIPT OF
ELECTRONICALLY SIGNED DECLARATION (.3);
CREATED A RECORD OF CALL, RECEIPT OF
DECLARATION AND CORRESPONDENCE TO ID
NO. 200134 (.2) PREPARED FOR AND
CONDUCTED PARTIAL PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 199761 (. 2); PREPARED
FOR AND CONDUCTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 200162 (.2 ); CREATED
RECORD OF CALL FOR ID NO. 200162 (.2);
PERFORMED EDITS TO DRAFT DECLARATION
FOR NORTEL RETIREE ID NO. 188533 AND
FORWARDED SAME TO RETIREE FOR FINALIZING
(.3); COMPLETED RECORD OF CALL AND
INTERVIEW SHEET FOR RETIREE ID NO. 188533
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(3).

08/28/12 RECEIVED AND LISTENED TO VOICE-MAIL 03262/CWD 0.20
MESSAGE FROM RETIREE 4713054 AND NOTED
INTERVIEW SUMMARY SHEET RE SAME.

08/28/12 TELEPHONE INTERVIEW WITH RETIREE 4713054 03262/CWD 0.70
AND REVIEWED NOTES FRO SAME IN
PREPARATION FOR DRAFTING DECLARATION.

08/28/12 FILED COMMUNICATIONS WITH RETIREES 03262/CWD 0.40
PURSUANT TO PROTOCOL.

08/28/12 REVISED DRAFT DECLARATION OF RETIREE 03262/CWD 0.40
189122 AND EMAILED REVISED DRAFT TO
RETIREE.

08/28/12 EMAIL COMMUNICATIONS WITH TEAM RE ISSUES 03262/CWD 0.40
ARISING DURING CALLS TO RETIREES AND
ADJUSTMENTS TO PROTOCOL.

08/28/12 DRAFTED AND SENT EMAIL ATTACHING 03262/CWD 0.20
DECLARATION TO RETIREE 190499.

08/28/12 RECEIVED AND LISTENED TO VOICE-MAIL 03262/CWD 0.30
MESSAGE FROM RETIREE 190499 AND REVISED
DRAFT DECLARATION ACCORDINGLY.

08/28/12 TELEPHONE CONVERSATION WITH RETIREE 03262/CWD 0.40
189122 TO DISCUSS DRAFT DECLARATION.

08/28/12 TELEPHONE CONVERSATION WITH RETIREE 03262/CWD 0.50
190499 AND MADE FURTHER REVISIONS TO.
DRAFT DECLARATION BASED ON SAME.

08/28/12 PREPARING FOR AND CONDUCTING TELEPHONE 03698/RJH 7.70

INTERVIEW OF NORTEL RETIREE, ID NO. 202124
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 198845 (0.5); PREPARING DRAFT
DECLARATION FOR RETIREE 198845 AND
PROVIDING SAME TO RETIREE FOR REVIEW AND
COMMENT (0.7); CREATING RECORD OF CALL
AND CORRESPONDENCE (0.3); PREPARING FOR
AND CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 201264 (0.1);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 1191056
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(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 204349 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 190524 (0.1);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 198588
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 198589 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 186472 (0.1);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 186472
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 201756 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 242407 (0.1);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 243007
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 199224 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 193432 (0.7);
PREPARING DRAFT DECLARATION FOR RETIREE
193432 AND PROVIDING SAME TO RETIREE FOR
REVIEW AND COMMENT (0.8); CREATING
RECORD OF CALL AND CORRESPONDENCE (0.3);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 193816
(0.9); PREPARING DRAFT DECLARATION FOR
RETIREE 193816 AND PROVIDING SAME TO
RETIREE FOR REVIEW AND COMMENT (0.9):
CREATING RECORD OF CALL AND
CORRESPONDENCE (0.2); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 200090 (0.1);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 207187
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL

PREPARING FOR AND CALLING RETIREE NO.
196439 (0.1); REVIEW OF MATERIALS FROM
RETIREE NO 197190 (0.2); CREATING RECORD OF
MATERIALS RECEIVED FROM RETIREE NO.
197190 (0.3); PREPARING FOR AND SPEAKING
WITH RETIREE NO. 196439 REGARDING
REVISIONS TO DECLARATION (0.4); REVISING

04585/BDK

4.20
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DECLARATION FOR RETIREE NO. 196439,
DRAFTING LETTER AND SENDING SAME TO
RETIREE NO. 196439 (0.5); PREPARING FOR AND
CALLING RETIREE NO. 197106 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 195758 (0.1);
DRAFTING DECLARATION FOR RETIREE NO.
197349 (0.9); PREPARING COVER LETTER FOR
AND SENDING DECLARATION TO RETIREE NO.
197349 (0.3); PREPARING FOR AND CALLING
RETIREE NO. 195611 (0.1); PREPARING FOR CALL
AND SPEAKING WITH RETIREE NO. 197106 (0.2);
PREPARING FOR AND CALLING RETIREE NO.
195681 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 197263 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 195772 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 195714 (0.1);
PREPARING FOR CALL AND SPEAKING WITH
RETIREE NO. 197574 (0.2); CREATING RECORD
OF CALL FOR RETIREE NO. 197574 (0.2);
COMMUNICATING WITH M&E ATTORNEYS
REGARDING STATUS REPORT FOR RETIREE
INTERVIEWS (0.2). :

PREPARE LIST OF RETIREES WITH BAD 05172/JAK
CONTACT INFORMATION (.30); PHONE CALL
WITH RETIREE 237960 (.40); MAKE NOTES ON
CALL WITH RETIREE 237960 (.20); RECEIPT AND
RESPOND TO EMAIL FROM RETIREE 187338 (.10);
PHONE CALL TO RETIREE 194002 (.10); PHONE
CALL TO RETIREE 194323 (.10); PHONE CALL TO
RETIREE 227383 (.10); PHONE CALL WITH
RETIREE 227319 (.20); PHONE CALL TO RETIREE
193901 (.10); LEFT MESSAGE FOR RETIREE
527011 (.10); PHONE CALL TO RETIREE 193817
(.10) PHONE CALL WITH RETIREE 227073 (.20):
PHONE CALL TO RETIREE 237440 (.10): LEFT
MESSAGE FOR RETIREE 193902 (.10); PHONE
CALL TO RETIREE 194053 (.10); PHONE CALL TO
RETIREE 226785 (.10); PHONE CALL WITH
RETIREE 205807 (.50); MAKE NOTES ON CALL
WITH RETIREE 205807 (.20); LEFT MESSAGE FOR
RETIREE 191588 (.10); PHONE CALL TO RETIREE
227576 (.10); PHONE CALL TO RETIREE 239343
(.10); LEFT MESSAGE FOR RETIREE 243109 (.10):
LEFT MESSAGE FOR RETIREE 192967 (.10):
PHONE CALL TO RETIREE 204982 (.10); LEFT
MESSAGE FOR RETIREE 242729 (.10); LEFT
MESSAGE FOR RETIREE 201064 (.10); PHONE
CALL WITH RETIREE 56354 (.60); MAKE NOTES
ON PHONE CALL WITH RETIREE 56354 (.20):
PHONE CALL WITH RETIREE 192967 (.20); PHONE

7.00
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CALL WITH RETIREE 192003 (.10); REVIEW NOTES
AND DRAFT DECLARATION FOR RETIREE 56354
(.70); REVIEW NOTES AND DRAFT DECLARATION
FOR RETIREE 205807 (.70); REVIEW NOTES AND
DRAFT DECLARATION FOR RETIREE 237960 (.60).

08/28/12 CONFER WITH COLLEAGUES (.7); CALLS TO 04867/CMM 3.30
RETIREES INCLUDING F. GRAHAM (.8): B.
OSTLUND (.8); N. TRAN (.1); J. RUBIN (.1); R.
KELLEY (.1); B. MALCOLM (.1); M. FAHEY (.1); H.
KEHOE (.3); R. OLSON (.1); L. WATSON (.1).

08/28/12 PHONE CALL WITH NORTEL RETIREE NO. 109231 04980/NJN 3.20
187902 205086 237279 240829 188989.
DISCUSSED DECLARATION IN CONNECTION
WITH NORTEL BANKRUPTCY MOTION TO
TERMINATION RETIREMENT BENEFITS. WILLING
TO ALLOW M&E TO PROVIDE LIMITED
REPRESENTATION FOR THE PURPOSES OF
DRAFTING A DECLARATION TO THE
BANKRUPTCY COURT.

08/28/12 PHONE CALL WITH NORTEL RETIREE NO. 242967 04980/NJN 0.20
197855 191835 188071 1584265 TO DISCUSS
DECLARATION IN CONNECTION WITH NORTEL
BANKRUPTCY MOTION TO TERMINATION
RETIREMENT BENEFITS. RETIREE WAS NOT
AVAILABLE THEREFORE | LEFT A VOICEMAIL
MESSAGE INDICATING MY REASON FOR THE
CALL, ASKING THE RETIREE TO CONTACT ME AS
SOON AS POSSIBLE, AND THAT | WOULD BE
ATTEMPTING TO CONTACT THE RETIREE IN THE
NEXT DAY OR SO.

08/28/12 PHONE CALL WITH NORTEL RETIREE 187911 04980/NJN 0.20
188980 243203 189091 320657 188402 195809
223334 188441. CONTACT NUMBER PROVIDED
WAS NOT IN SERVICE, CHANGED, WRONG
NUMBER, AND/OR DISCONNECTED.

08/28/12 REVIEW AND RESPOND TO MESSAGES FROM 03658/BPR 2.30
RETIREE 754855 (.2). REVIEW AND RESPOND TO
MESSAGES FROM 1583352. (.2). DRAFT
DECLARATIONS FOR RETIREES 105209 AND
188902 (1.9).

08/28/12 REVIEWING FINAL SIGNED DECLARATION OF 03749/J-R 5.60
RETIREE 188317 (0.1); CREATING RECORD OF
UNSUCCESSFUL CALL TO RETIREE 188132 (0.1);
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FOLLOWING UP ON FINAL DECLARATION WITH
RETIREE 190592 (0.1); EDITING, REVISING AND
FOLLOWING UP ON FINAL DECLARATION WITH

RETIREE 214394 (0.2); ATTEMPTING TO CONTACT

RETIREE 233700 (0.1); PREPARING FOR AND
CONDUCTING INTERVIEW OF RETIREE 233700
(0.3); CREATING RECORD OF CALL TO RETIREE

233700 (0.2); PREPARING FOR AND CONDUCTING

INTERVIEW OF RETIREE 187072 (0.3); CREATING
RECORD OF CALL TO RETIREE 187072 (0.2);
CREATING RECORD OF MESSAGE LEFT FOR
RETIREE 1541683 (0.1); CREATING RECORD OF
MESSAGE LEFT FOR RETIREE 187492 (0.1);
FOLLOWING UP ON FINAL DECLARATION WITH
RETIREE 1911100 (0.1); ATTEMPTING TO
CONTACT RETIREE 1586512 (0.1); CREATING
RECORD OF UNSUCCESSFUL CALL TO RETIREE

1586512 (0.1); PREPARING DRAFT DECLARATION
FOR RETIREE 188996 (0.5); PREPARING FOR AND

CONDUCTING INTERVIEW OF RETIREE 320653
(0.3); CREATING RECORD OF CALL TO RETIREE
320653 (0.3); PREPARING DRAFT DECLARATION
FOR RETIREE 195442 (0.5); CREATING RECORD
LEFT OF MESSAGE FOR RETIREE 195846 (0.1);
CREATING RECORD OF MESSAGE LEFT WITH
RETIREE 194796 (0.1); CREATING RECORD OF
MESSAGE LEFT FOR RETIREE 197411 (0.1);
CREATING RECORD OF MESSAGE LEFT FOR
RETIREE 195857 (0.1); PREPARING FOR AND
INTERVIEWING RETIREE 192655 (0.2);
PREPARING FOR AND INTERVIEWING RETIREE
66514 (0.3); CREATING RECORD OF CALL TO
RETIREE 66514 (0.2); ATTEMPTING TO CONTACT
RETIREE 1341000 (0.1); CREATING RECORD OF

UNSUCCESSFUL CALL TO RETIREE 1341000 (0.1);
PREPARING FOR AND CONDUCTING INTERVIEW
OF RETIREE 190570 (0.3); CREATING RECORD OF

CALL TO RETIREE 190570 (0.2); CREATING
RECORD OF NO NUMBER PROVIDED FOR
RETIREE 191832 (0.1).

08/28/12 PREPARING FOR AND CONDUCTING TELEPHONE

INTERVIEW OF RETIREE NO. 191767 (.7),
PREPARING DRAFT DECLARATION FOR SAME
(1.8) AND DRAFTING CORRESPONDENCE TO
RETIREE (.2); CREATING RECORD OF CALL AND
CORRESPONDENCE (.2); PREPARING FOR AND
LEAVING TELEPHONE MESSAGES FOR TWO

RETIREES (.4); CREATING RECORD OF CALL AND

CORRESPONDENCE FOR RETIREE NO. 4733562

03648/VDR

3.50
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(2).

CALLS TO RETIREE 195729 AND DISCUSSION 02153/DAT
WITH DAUGHTER (0.2); CALL TO RETIREES
197188, 195848, 197495, 195800, 195780, 621845,
196171, 1627977, 242545, 190811, 223226 AND
LEFT MESSAGE ON MACHINE (AND A RETURN
CALL LATER IN THE DAY FOR THE SEVEN THAT
WERE INITIAL CALLS) (1.3); CALLS TO
DISCONNECTED, WRONG NUMBER OR
OTHERWISE NOT IN SERVICE FOR RETIREES
195728, 197630, 197583, 196299, 197585, 196854,
1535996, 197447, 205249, 197688, 244684, 242903,
188838, 189353, 189085 (0.7); ATTEMPTS TO
LOCATE NUMBERS FOR WRONG NUMBERS (1.6):
REPEATED CALLS TO RETIREES 235805, 197831
WITH NO ANSWER AND NO ANSWERING
MACHINE (0.3); CALL AND INTERVIEW OF
RETIREE 206645 (AND SON) (1.2); PREPARATION
OF INTERVIEW SHEET FOR RETIREE 206645 (0.3);
PREPARATION OF DECLARATION AND
CORRESPONDENCE FOR RETIREE 206645 (0.6):
CALLS AND INTERVIEW TO RETIREE 197497 (0.5):
CALL AND INTERVIEW OF RETIREE 197105 (0.4):

REVIEW AND FILE SIGNED DECLARATION FOR 03589/MDV
RETIREE 198855 (.1); CALL TO RETIREE 186093
(.1); COMPLETE INTERVIEW SHEET FOR RETIREE
186093 (.1); CALL TO RETIREE 186614 (.1); CALL
TO RETIREE 187034 (.1); CALL TO RETIREE
201741 (.1); CALL TO RETIREE 200287 (.1); CALL
TO RETIREE 204923 (.1); CALL TO RETIREE
198862 (.1); CALL TO RETIREE 191165 (.1); CALL
TO RETIREE 186202 (.3); COMPLETE INTERVIEW
SHEET FOR 186202 (.1); CALL TO RETIREE 199029
(.1); CALL FROM RETIREE 199606 (.2); REVIEW
AND FILE SIGNED DECLARATION OF 199606 (.1);
DRAFT STATUS UPDATE (.1); CONFER WITH
COLLEAGUES REGARDING STATUS AND
STRATEGY (.3).

ORGANIZE INTERVIEW DOCUMENTS RECEIVED 00535/D-B
FROM TEAM; COORDINATE AND ATTEND TO

HYPERLINKING INFORMATION TO CENSUS

SPREADSHEET; UPDATE TEAM STATUS REPORT.

CONFER W/ P. KILLIAN ON CASE STATUS 02949/JAS

7.10

2.20

3.00

0.20
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08/29/12

08/29/12

FINALIZE AND E-FILE AMENDED 4TH QUARTERLY
FEE APPLICATION FOR ALVAREZ & MARSAL
HEALTHCARE INDUSTRY GROUP.

REVIEWING AND DRAFTING CORRESPONDENCE
RELATING TO RETIREE DISCOVERY.

REVIEW OF EMAILS REGARDING USE OF
EXPERTS AS TO THE RETIREE CLAIMS UNDER
ERISA; CONSIDERATION OF ISSUES WITH
RESPECT TO THE SAME.

PARTICIPATING IN CONFERENCE CALL OF THE
TOGUT AND A&M PROFESSIONALS DISCUSSING
THE STATUS OF THE MOTION TO TERMINATE
THE RETIREE WELFARE PLANS.

POST CONFERENCE CALL WITH NEIL BERGER
DISCUSSING THE IMPLICATIONS OF A NEW
OPEN ENROLLMENT IF THE MOTION TO
TERMINATE IS DELAYED TO EARLY 2013.

CONSIDERATION OF LEGAL ISSUES REGARDING
STRATEGIES WITH RESPECT TO CONTINUATION
OF THE RETIREE MEDICAL COVERAGE IN 2013
AND THROUGHOUT THE FIRST QUARTER, AND
THE IMPLICATIONS OF OPEN ENROLLMENT;
CONFERRING WITH RESPECT TO SAME.

DISCUSS ISSUES RE: DOCUMENTS TO BE
PROVIDED AND DEADLINES W/ J. ALEXANDER.

REVIEW EMAILS AND REPORT RE: EXPERT ON
SPD CONSTRUCTION.

EXCHANGE EMAILS W/ TEAM RE: STATUS OF
DECLARATION PROJECT.

REVIEW EMAIL FROM A. NATAL] AND ATTACHED
SAMPLE RECEIVED DECLARATIONS.

REVIEW AND RESPOND TO EMAILS AND CALLS
FROM TEAM MEMBERS RE: QUESTIONS AND
ISSUES PRESENTED BY RETIREES.

CONTINUED PREPARATION OF MATERIALS FOR
EXPERT REVIEW.

04553/TGC

01584/LAC

00952/MAD

00952/MAD

00952/MAD

00952/MAD

04841/NMI

04841/NMI

04841/NMI

04841/NMI

0484 1/NMI

00286/ALN

0.40

1.10

0.50

0.50

0.20

0.50

0.30

0.20

0.30

0.20

0.30

~ 1.10
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08/29/12 PREPARE ADDITIONAL COMMUNICATION TO 00286/ALN 0.30
TOGUT WITH RESPECT TO RETIREE
DECLARATION STATUS.

08/29/12 COMMUNICATE WITH COUNSEL IN EL PASO 00286/ALN 0.20
CASE.

08/29/12 OFFICE COMMUNICATION WITH RESPECT TO 00286/ALN 0.30
EXPERT ISSUES. ,

08/29/12 CONTINUED REVIEW AND FURTHER 00286/ALN 0.40
CONSIDERATION OF EL PASO DECISION.

08/29/12 RECEIPT AND REVIEW MULTIPLE 00286/ALN 0.60
REPORTS/COMMUNICATIONS FROM M&E TEAM;
CONSIDER AND PREPARE RESPONSES WITH
RESPECT TO SAME.

08/29/12 REVIEW EXPERT REPORTS OF LINGUIST/ERISA 00286/ALN 1.70
EXPERT; ACTUARY AND STATISTICIAN FILED IN
EL PASO CASE.

08/29/12 CONTINUED RESEARCH WITH RESPECT TO 00286/ALN 1.20
EXPERT (LINGUISTIC).

08/29/12 PREPARE FOR AND PARTICIPATE IN EXTENSIVE 00286/ALN 0.90
TELECONFERENCE WITH RM OF TOGUT.

08/29/12 REVIEW AND CONSIDER RECEIVED 00286/ALN 1.10
DECLARATIONS.

08/29/12 PREPARE COMMUNICATION TO TOGUT WITH 00286/ALN 1.80
RESPECT TO LINGUIST/ERISA EXPERT;
ACTUARY AND STATISTICIAN.

08/29/12 FOLLOW UP CALL WITH TS&S RE THE CALL 0271 8/WFT 0.30
COURT CHAMBERS RE AMENDING SCHEDULING
ORDER AND TRIAL ISSUES.

08/29/12 CORRESPOND WITH KCC RE SERVICE ISSUES 02718/\WFT 0.30
FOR A&M AMENDED FOURTH QUARTERLY AND
AFFIDAVIT OF SERVICE OF SAME; DIRECT STAFF
ON FOLLOW UP.

08/29/12 CALL WITH TS&S RE THE CALL COURT 02718/WFT 0.30
CHAMBERS RE AMENDING SCHEDULING ORDER
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AND TRIAL ISSUES.

08/29/12 CORRESPOND WITH DEBTORS AND LTD RE O2718/WFT 0.30
TRIAL TIMING AND STATUS ISSUES. ,

08/29/12 EXAMINE AND ANALYZE REVISED SCHEDULE 02718/WFT 0.30
CERTIFICATION AND CORRESPOND WITH
DEBTORS, LTD AND TS&S.

08/29/12 CALL WITH TS&S RE PROPOSED CERTIFICATION 02718/WFT 0.30
RE AMENDING SCHEDULING ORDER AND CALL
WITH COURT.

08/29/12 EXAMINE AND ANALYZE PROPOSED 02718/WFT 0.30
CERTIFICATION RE AMENDING SCHEDULING
ORDER.

08/29/12 CALL WITH DEBTORS RE PROPOSED 02718/WFT 0.30
CERTIFICATION RE AMENDING SCHEDULING
ORDER AND CALL WITH COURT AND MODIFYING
SAME TO INCLUDE ALL COUNSEL.

08/29/12 CALL WITH THE COURT CHAMBERS RE 02718/WFT 0.30
AMENDING SCHEDULING ORDER AND TRIAL
ISSUES.

08/29/12 DRAFTING AND ORGANIZING RESPONSES TO 02718/WFT 5.00

DISCOVERY INCLUDING REQUESTS FOR
ADMISSION AND DOCUMENT REQUESTS.

08/29/12 PREPARING FOR AND CONDUCTING PARTIAL 02323/JMA 5.10
TELEPHONE INTERVIEW OF RETIREE 203646 (.3);
CREATING RECORD OF CALL AND
CORRESPONDENCE (.1); ATTEMPTING TO
CONTACT BY TELEPHONE AND LEAVING
MESSAGE FOR RETIREE 201929 (.1);
ATTEMPTING TO CONTACT BY TELEPHONE AND
LEAVING MESSAGE FOR RETIREE 199105 (.1);
ATTEMPTING TO CONTACT BY TELEPHONE
RETIREE 191775 AND DISCUSSION WITH SPOUSE
(.2); CORRESPONDING BY EMAIL AND
TELEPHONE WITH RETIREE 244667 AND
REVISING DECLARATION (.5); RECEIPT AND
REVIEW OF DECLARATION FOR 242451 AND
CORRESPONDING WITH RETIREE (.2); RECEIPT
AND REVIEW OF EMAILS REGARDING EXPERTS
(.1); REVISING DECLARATION OF RETIREE 118814
AND CORRESPONDING WITH RETIREE BY EMAIL
TO ANSWER HIS INQUIRIES (.6); REVISING
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DECLARATION OF RETIREE 227193 AND
SENDING TO HIM BY EMAIL (.5); PREPARING
DRAFT DECLARATION FOR RETIREE 193434 AND
SENDING SAME BY EMAIL (.9); PREPARING
DRAFT DECLARATION FOR RETIREE 243013 AND
’ SENDING SAME BY EMAIL (.8); FIELDING
VARIOUS ATTORNEY CALLER QUESTIONS
INCLUDING ON TIMING OF PROJECT (.5);
REVIEWING GLOBAL STATUS UPDATE AND
INTERNAL EMAILS (.2).
08/29/12 REVIEW SCHEDULING ISSUES IN PREPARATION 03706/KRB 0.40
FOR COURT TELECONFERENCE.
08/29/12 CREATION OF RECORD OF CALL. 04537/NEC 0.20
08/29/12 PREPARING FOR AND CONTACTING NORTEL 04537/NEC 0.20
RETIREE NO. 1997954.
08/29/12 COMMUNICATIONS WITH COUNSEL RE 04537/NEC 0.40
PROCEDURES FOR MAINTAINING RECORDS OF
COMMUNICATIONS WITH NORTEL RETIREES.
08/29/12 COMMUNICATION AND TELEPHONE CALL WITH 04537/NEC 0.30
NORTEL RETIREE 243171.
08/29/12 CREATION OF RECORD OF CALL AND DRAFTING 04537/NEC 0.20
OF INTERVIEW SHEET INFORMATION.
08/29/12 COMMUNICATIONS WITH NORTEL RETIREE NO. 04537/NEC 1.30
130736.
08/29/12 CREATION OF RECORD OF CALL. 04537/NEC 0.20
08/29/12 CREATION OR RECORD OF CALL AND DRAFTING 04537/NEC 0.30
OF INTERVIEW SHEET.
08/29/12 REVISIONS TO DECLARATION. 04537/NEC 0.20
08/29/12 PREPARING FOR AND CONTACTING NORTEL 04537/NEC 0.20
RETIREE NO. 190917 BY PHONE.
08/29/12 CREATION OF RECORD OF CALL. 04537/NEC 0.20
08/29/12 CREATING RECORD OF CALL AND 04537/NEC 0.30

CORRESPONDENCE RE SAME.
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08/29/12 PREPARING DRAFT DECLARATION FOR RETIREE 04537/NEC 0.50
AND PROVIDING SAME TO RETIREE FOR REVIEW
AND COMMENT.

08/29/12 PREPARATION AND COMMUNICATION WITH 04537/NEC 0.50
NORTEL RETIREE NO 217175.

08/29/12 PREPARING FOR AND CONTACTING NORTEL 04537/NEC 0.20
RETIREE NO. 192639.

08/29/12 CREATION OF RECORD OF CALL. 04537/NEC 0.20

08/29/12 CREATION OF RECORD OF CALL. 04537/NEC 0.20

08/29/12 PREP FOR AND ATTEMPTED CALL TO RETIREE 04537/NEC 0.20
NO. 190803.

08/29/12 COMMUNICATION WITH NORTEL RETIREE NO. 04537/NEC 0.20
190978 RE LITIGATION; DECLARATION AND
POTENTIAL OF MAINTAINING RETIREMENT —
DOCUMENTS.

08/29/12 COMMUNICATIONS WITH SPOUSE OF NORTEL 04537/NEC 0.30
RETIREE NO 190569.

08/29/12 COMMUNICATIONS WITH NORTEL RETIREE NO. 04537/NEC 0.30
190491 RE REVISIONS TO DECLARATION.

08/29/12 PREPARING DRAFT DECLARATION FOR RETIREE 04537/NEC 0.50
AND PROVIDING SAME TO RETIREE FOR REVIEW
AND COMMENT.

08/29/12 PREP FOR AND ATTEMPTED CALL TO RETIREE 04537/NEC 0.20
NO 248569.

08/29/12 LEFT VOICE MAIL MESSAGE FOR NORTEL 04575/B-C 7.40

RETIREE ID NO. 195871 IN AN ATTEMPT TO
FINALIZE DECLARATION (.1); PREPARED FOR
AND ATTEMPTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 198485 (.2); CREATED
RECORD OF CALL FOR RETIREE NO. 198485 (.3);
PREPARED FOR AND ATTEMPTED PHONE
INTERVIEW WITH NORTEL RETIREE ID NO.
200813 - LEFT MESSAGE (.2); PREPARED FOR
AND ATTEMPTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 200131(.2); CREATED
RECORD OF CALL FOR RETIREE NO. 200131 (.2);
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PREPARED FOR AND CONDUCTED PHONE
INTERVIEW WITH NORTEL RETIREE ID
NO.1558641 (.9); EMAIL COMMUNICATIONS WITH
ID NO. 1558641 REGARDING OBTAINING
DOCUMENTS OF INTEREST (.1); DRAFTED
DECLARATION FOR ID NO. 1558641 AND SENT
SAME TO RETIREE FOR REVIEW (1.2); CREATED
RECORD OF CALL AND COMMUNICATIONS WITH
ID NO. 1558641 (.4); PREPARED FOR AND
CONDUCTED PHONE INTERVIEW WITH NORTEL
RETIREE ID NO. 135130 (.5); CREATED RECORD
OF CALL FOR RETIREE ID NO. 135130 (.4);
DRAFTED DECLARATION AND FORWARDED TO
RETIREE NO. 135130 FOR REVIEW (1.2); PHONE
CALL WITH RETIREE NO. 188533 REGARDING
STATUS OF FINAL DRAFT DECLARATION (.1);
PHONE CALL LEAVING VOICE MAIL MESSAGE
REGARDING STATUS OF FINAL DRAFT
DECLARATION FOR ID NO. 1213749 (.1); PHONE
CALL LEAVING VOICE MAIL MESSAGE INQUIRING
AS TO STATUS OF FINAL DRAFT DECLARATION
FOR ID NO. 233124 (.1); LEFT MESSAGE FOR
RETIRE ID NO. 203495 (.1); CONDUCTED PARTIAL
PHONE INTERVIEW WITH NORTEL RETIREE ID
NO. 201198 (.2); PREPARED FOR AND
ATTEMPTED PHONE INTERVIEW OF NORTEL
RETIREE [D NO. 232552 (.2); PREPARED FOR AND
ATTEMPTED PHONE INTERVIEW OF NORTEL
RETIREE ID NO. 1005305 (.2); CREATED RECORD
OF CALL FOR ID NO. 1005305 (.2); PREPARED
FOR AND ATTEMPTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 227507 (.2); CREATED
RECORD OF CALL WITH ID NO. 227507 (.3).

DRAFTED DAILY CALL SUMMARY AND 04575/B-C
FORWARDED SAME TO COUNSEL.

COMMUNICATIONS WITH JASON ALEXANDER 04575/B-C
REGARDING DEADLINES FOR ACCEPTING
DECLARATIONS.

CONFERRED WITH NORKIE COSGROVE-KURTZ 04575/B-C
REGARDING PROCEDURES FOR FILING FOR

DRAFT DECLARATIONS, COMMUNICATIONS WITH

RETIREES, AND INTERVIEW SHEETS.

0.10

0.10

0.40

CALLED AND INTERVIEWED RETIREE 204828. 03262/CWD 0.80
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08/29/12 INTERNAL EMAIL COMMUNICATIONS WITH 03262/CWD 0.20
PARTNERS RE DOCUMENTS FROM RETIREE
187153.

08/29/12 REVIEWED AND FINALIZED INTERVIEW NOTES 03262/CWD 0.30
FOR RETIREE 187153.

08/29/12 CALLED AND INTERVIEWED RETIREE 4713054. 03262/CWD 0.70

08/29/12 RECEIVED AND CONSIDERED VOICE MAILFROM —-03262/CWD 0.10
RETIREE 187153 RE DOCUMENTS.

08/29/12 PREPARED AND SENT EMAIL ATTACHING DRAFT —-03262/CWD 0.20
DECLARATION TO RETIREE 4713054.

08/29/12 REVIEW AND CONSIDERATION OF INTERVIEW 03262/CWD 0.10
SHEET FOR RETIREE 190499.

08/29/12 EMAIL COMMUNICATION WITH CALL TEAM RE 03262/CWD 0.40
ISSUES ARISING DURING CALLS TO RETIREES
AND ADJUSTMENTS TO PROTOCOL.

08/29/12 REVIEWED INTERVIEW NOTES AND PREPARED 03262/CWD 0.60
DRAFT DECLARATION FOR RETIREE 4713054.

08/29/12 REVIEW AND CONSIDERATION OF INTERVIEW 03262/CWD 0.10
SHEET FOR RETIREE 189122.

08/29/12 RETURNED CALL AND LEFT VOICE MAIL FOR 03262/CWD 0.10
RETIREE 187153 RE DOCUMENTS.

08/29/12 FOLLOW UP TELEPHONE CALL TO RETIREE 05130/CMG 7.10

NUMBER 203657 REGARDING HER REVIEW OF
DOCUMENTS AND POSSIBLE DECLARATION (.9) ;
FOLLOW UP CALL TO RETIREE NUMBER 203184
REGARDING DOCUMENTS AND PREPARATION
OF DECLARATION (.9); PREPARE FOR AND
TELEPHONE CALL WITH RETIREES NUMBERS
198714 AND 204031, LEFT VOICE MAIL AND THEN
FOLLOW UP CALL TO DISCUSS DOCUMENTS
AND DECLARATION (.8); PREPARE FOR AND
TELEPHONE CALL WITH 203622 TO DISCUSS
DOCUMENTS AND DECLARATION (.9); PREPARE
FOR AND TELEPHONE CALL TO 204019
REGARDING DOCUMENTS AND DECLARATION
(.8); PREPARE FOR AND TELEPHONE.CALL WITH
NUMBER 200286, LEFT VOICE MAIL (.1); PREPARE
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08/29/12

FOR AND TELEPHONE CALL TO 203847, LEFT
VOICE MAIL (.1); PREPARE FOR AND TELEPHONE
CALL TO 203430, LEFT VOICE MAIL (.1); PREPARE
FOR AND TELEPHONE CALL TO 227272 AND
227310 WITH NO ANSWER (.1); PREPARE FOR
AND TELEPHONE CALL TO 202809, LEFT VOICE
MAIL (.1); PREPARE FOR AND TELEPHONE CALL
TO 200821 AND LEFT MESSAGE WITH HIS WIFE
(.2); PREPARE FOR AND TELEPHONE CALL WITH
203652 TO DISCUSS CASE AND TO SCHEDULE
ANOTHER TIME FOR THE CALL (.2); PREPARE
DAILY CALL REPORT (.3); ADMINISTRATIVE
TASKS RELATED TO RETIREE CALLS (.4); DRAFT
DECLARATION FOR NUMBER 203184 (1.2)

PREPARING FOR AND CONDUCTING TELEPHONE 03698/RJH
INTERVIEW OF NORTEL RETIREE, ID NO. 203855
(0.5); PREPARING DRAFT DECLARATION AND
SENDING SAME TO RETIREE FOR REVIEW AND
COMMENT (0.8); CREATING RECORD OF CALL
AND CORRESPONDENCE (0.4); PREPARING FOR
AND CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 243007 (0.2);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 190524
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 186472 (0.4); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 199224 (0.1);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 200090
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 207187 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 227146 (0.1);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 186673
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 246734 (0.1; PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 1621745 (0.1);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 1621757
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 197829 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 206176 (0.1);

7.90
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PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 190877
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, !D
NO. 190912 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 205172 (0.2);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 242918
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 201623 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 4723022 (0.5);
PREPARING DRAFT DECLARATION AND SENDING
SAME TO RETIREE FOR REVIEW AND COMMENT
(0.8); CREATING RECORD OF CALL AND
CORRESPONDENCE (0.3); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 190796 (0.1);
PREPARING FOR AND

PREPARING FOR AND CALLING RETIREE NO.
188889 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 194338 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 187807 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 187861 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
187509 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 187910 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 189099 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 207362 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
1543446 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 189380 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 188837 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 187463 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
187461 (0.1); PREPARING FOR CALL AND
SPEAKING WITH RETIREE NO. 187821 (0.2);
PREPARING FOR CALL AND INTERVIEWING
RETIREE NO. 187463 (0.7); CREATING RECORD
OF CALL WITH RETIREE NO. 187463 (0.2);
DRAFTING DECLARATION FOR AND SENDING
SAME TO RETIREE NO. 187463 (1.1); PREPARING
FOR AND CALLING RETIREE NO. 196993 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
197430 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 195789 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 197672 (0.1); PREPARING
FOR CALL AND INTERVIEWING RETIREE NO.

04585/BDK

8.40
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196738 (0.6); CREATING RECORD OF CALL WITH
RETIREE NO. 196738 (0.2); DRAFTING
DECLARATION FOR AND SENDING SAME TO
RETIREE NO. 196738 (1.0); PREPARING FOR CALL
AND INTERVIEWING RETIREE NO. 195758 (0.8);
CREATING RECORD OF CALL WITH RETIREE NO.
195758 (0.2); DRAFTING DECLARATION FOR AND
SENDING SAME TO RETIREE NO. 195758 (0.9):
CONFERRING WITH M&E ATTORNEYS
REGARDING ISSUES RELATING TO RETIREE
INTERVIEWS (0.3); PREPARING FOR CALL AND
BEGINNING TO INTERVIEW RETIREE NO. 189423
(0.3); COMMUNICATING WITH M&E ATTORNEYS
REGARDING STATUS REPORT FOR RETIREE
INTERVIEWS (0.2).

PREPARE BACK UP DOCUMENTS AND FILES FOR
EACH DECLARATION AND RETIREMENT
DOCUMENTS (1.30); PHONE CALL WITH RETIREE
205807 REGARDING DECLARATION (.10): PHONE
CALL WITH RETIREE 56354 REGARDING
DECLARATION (.20); PHONE CALL WITH RETIREE
243109 (.20); PHONE CALL TO RETIREE 189022
(.10); LEFT MESSAGE FOR RETIREE 191820 (.10);
LEFT MESSAGE FOR RETIREE 190987 (.10);
PHONE CALL TO RETIREE 186915 (.10); PHONE
CALL WITH SISTER OF RETIREE 238551 (.10);
LEFT MESSAGE TO RETIREE 186819 (.10); PHONE
CALL TO RETIREE 186897 (.10); PHONE CALL
WITH RETIREE 192456 (.10); LEFT MESSAGE TO
RETIREE 186837 (.10); LEFT MESSAGE FOR
RETIREE 185796 (.10); PHONE CALL TO RETIREE
186836 (.10); PHONE CALL TO RETIREE 187457
(.10); PHONE CALL TO RETIREE 192627 (.10):
LEFT MESSAGE FOR RETIREE 56658 (.10):
PHONE CALL TO RETIREE 226924 (.10); PHONE
CALL WITH RETIREE 194065 (.10); RECEIPT AND
REVIEW OF DOCUMENTS PROVIDED BY RETIREE
689864 (.40); PHONE CALL TO RETIREE 193898
(.10); LEFT MESSAGE FOR RETIREE 193920 (.10);
PHONE CALL TO RETIREE 194051 (.10); PHONE
CALL TO RETIREE 227417 (.10); PHONE CALL
WITH HUSBAND OF RETIREE 193993 (.20); PHONE
CALL TO RETIREE 194015 (.10); PHONE CALL TO
RETIREE 206032 (.10); PHONE CALL WITH
RETIREE 194258 (.60) MAKE NOTES ON PHONE
CALL WITH RETIREE 194258 (.20); REVIEW NOTES
AND PREPARE DECLARATION FOR RETIREE
194258 (.70); PHONE CALL TO RETIREE 238277
(.10); LEFT MESSAGE FOR RETIREE 227377 (.10);

05172/JAK

6.40
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PHONE CALL TO 238011 (.10).

CONFER WITH COLLEAGUES (.5); PREPARE 04867/CMM
DECLARATIONS AND COVER LETTERS FROM

GRAHAM AND OSTLUND (1.6); CALL TO

RETIREES INCLUDING F. GRAHAM (.2)

REGARDING ADDRESS; H. OANES (.2): W.

RIEWER (.6); |. KNUTSON (.2); A. ZIEGLER (.1); J.

TWEETER (.1); R. CLITES (.1); J. RUBIN (.1); P.

SKOGEN (.2); S. HARDER (.1); PREPARE

DECLARATION FOR W. RIEWER (1.0).

PHONE CALL WITH NORTEL RETIREE NO. 215653 04980/NJN
1627914 193405. DISCUSSED DECLARATION IN

CONNECTION WITH NORTEL BANKRUPTCY

MOTION TO TERMINATION RETIREMENT

BENEFITS. UNWILLING TO ALLOW M&E TO

PROVIDE LIMITED REPRESENTATION FOR THE

PURPOSES OF DRAFTING A DECLARATION TO

THE BANKRUPTCY COURT AS NORTEL

RETIREE'S BELIEVE THEY ARE NOT ENTITLED TO

BENEFITS.

PHONE CALL WITH NORTEL RETIREE NO. 227961 04980/NJN
189562 242059 191083 193404 197865 187593 TO
DISCUSS DECLARATION IN CONNECTION WITH
NORTEL BANKRUPTCY MOTION TO
TERMINATION RETIREMENT BENEFITS. RETIREE
WAS NOT AVAILABLE THEREFORE | LEFT A
VOICEMAIL MESSAGE INDICATING MY REASON
FOR THE CALL, ASKING THE RETIREE TO
CONTACT ME AS SOON AS POSSIBLE, AND THAT
| WOULD BE ATTEMPTING TO CONTACT THE
RETIREE IN THE NEXT DAY OR SO.

PHONE CALL WITH NORTEL RETIREE 188525. 04980/NJN
CONTACT NUMBER PROVIDED WAS NOT IN

SERVICE, CHANGED, WRONG NUMBER, AND/OR
DISCONNECTED.

PHONE CALL WITH NORTEL RETIREE NO. 240829 04980/NJN
227908. DISCUSSED DECLARATION IN

CONNECTION WITH NORTEL BANKRUPTCY

MOTION TO TERMINATION RETIREMENT

BENEFITS. WILLING TO ALLOW M&E TO PROVIDE

LIMITED REPRESENTATION FOR THE PURPOSES

OF DRAFTING A DECLARATION TO THE

BANKRUPTCY COURT.

5.00

0.80

0.20

0.10

1.00
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DRAFTING OF DECLARATION TO THE
BANKRUPTCY COURT FOR NORTEL RETIREE NO.
109231 206717 187524 192207 188310 IN
CONNECTION WITH NORTEL BANKRUPTCY
MOTION TO TERMINATION RETIREMENT
BENEFITS. DECLARATION WILL DETAIL HOW
EACH RETIREE WILL AND HAS BEEN AFFECTED
BY THE ACTION OF NORTEL WHILE RETIREE AS
EMPLOYED BY NORTEL AND SUBSEQUENT TO
THE RETIREES RETIREMENT FROM NORTEL.

CONFERENCE WITH RETIREE 754855. (.7).
PREPARE FOR AND CALL RETIREE 197690 (.3)
REVIEW AND REVISE RETIREE 188964
DECLARATION. (.3) CORRESPONDENCE WITH
RETIREE 188966 REGARDING DECLARATION. (.2)
REVIEW DOCUMENTS FROM RETIREE 754855
(3). REVISE RETIREE NUMBER 193528
DECLARATION. (.2) DRAFT CORRESPONDENCE
TO 193528. (.2) CORRESPONDENCE WITH 188528
REGARDING REQUEST FOR ADDITIONAL
INFORMATION. (.3) DRAFT RETIREE 754855
DECLARATION. (.6). DRAFT CORRESPONDENCE
TO RETIREE 754855 REGARDING DECLARATION.
(.2) DRAFT CORRESPONDENCE TO RETIREE
188902 REGARDING DECLARATION. (.2). DRAFT
CORRESPONDENCE TO RETIREE 105209
REGARDING DECLARATION. (.2). DRAFT CALL
REPORT. (.2)

REVIEWING FINAL SIGNED DECLARATION OF
RETIREE 188761 (0.1); CREATING RECORD OF
UNSUCCESSFUL CALL TO RETIREE 245731 (0.1);
PREPARING DRAFT DECLARATION FOR RETIREE
233700 (0.4); FOLLOWING UP ON FINAL
DECLARATION WITH RETIREE 187136 (0.1):
PREPARING DRAFT DECLARATION FOR RETIREE
187072 (0.4); EDITING, REVISING AND
FOLLOWING UP ON FINAL DECLARATION WITH
RETIREE 188996 (0.3); PREPARING DRAFT
DECLARATION FOR RETIREE 320653 (0.4):
REVIEWING FINAL SIGNED DECLARATION OF
RETIREE 195442 (0.1); PREPARING DRAFT
DECLARATION FOR RETIREE 66514 (0.4);
EDITING, REVISING AND FOLLOWING UP ON
FINAL DECLARATION WITH RETIREE 66514 (0.3):
PREPARING DRAFT DECLARATION FOR RETIREE
190570 (0.4).

04980/NJN

03658/BPR

03749/J-R

5.10

3.90

3.00
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PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF RETIREE, ID NO. 1571181 (.7),
PREPARING DRAFT DECLARATION FOR SAME
AND SENDING TO RETIREE FOR REVIEW AND
COMMENT ( ).

INTERVIEWS OF RETIREES 196198, 195896,
192530, AND 195976 AND CREATION OF
INTERVIEW SHEETS AND ELECTRONIC FOLDERS
(3.4); SHORT DISCUSSION WITH RETIREE 196761
AND ATTEMPTED CALL TO HER ATTORNEY (0.2):
"DISCONNECTED" OR WRONG NUMBER CALLS
TO RETIREES 188490, 197337, 196115, 205989,
196819, 207589, 197385 (0.4); REPEATED CALLS
TO RETIREE 196369 WITH NO ANSWERING
MACHINE (0.2); LEFT MESSAGE ON ANSWERING
MACHINE FOR RETIREES 197632, 197328, 194538,
519679, 510791, 197024 (AND REPEATED CALL TO
RETIREE 197495) (0.3).

CALL FROM RETIREE 187034 (.1); UPDATE
INTERVIEW SHEET FOR RETIREE 1870364 (.1);
CALL FROM RETIREE 201129 (.2); UPDATE
INTERVIEW SHEET FOR RETIREE 201129 (.1);
CALL FROM RETIREE 199029 (.1); UPDATE
INTERVIEW SHEET FOR RETIREE 199029 (.1);
CALL TO RETIREE 190915 (.5); UPDATE
INTERVIEW SHEET FOR RETIREE 190915 (.2);
INTERVIEW SHEET FOR RETIREE 188746 (.1);
INTERVIEW SHEET FOR RETIREE 186988 (.1);
INTERVIEW SHEET FOR RETIREE 227869 (.1);
INTERVIEW SHEET FOR RETIREE 69329 (.1);
INTERVIEW SHEET FOR RETIREE 223289 (.1).

REVIEW TEAM CALL REPORTS TO DATE AND
REVIEW/UPDATE STATUS REPORT; PARTICIPATE
IN CALL WITH ALN AND RM RE ISSUES
REGARDING CALLS TO RETIREES.

CONFER WITH COUNSEL REGARDING STATUS
AND RELATED DEADLINES TO AMENDED
SCHEDULING ORDER; CALENDAR RELATED
CRITICAL DATES AND DEADLINES;

ELECTRONICALLY FILE AFFIDAVIT OF SERVICE
REGARDING SERVICE OF AMENDED FOURTH
QUARTERLY FEE APPLICATION OF ALVAREZ AND
MARSAL;

03648/VDR 5.00

02153/DAT 4.50

03589/MDV 1.90

00535/D-B 2.00

04990/JFS 0.30

O4990/JFS 0.20
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08/30/12

08/30/12
08/30/12

08/30/12

08/30/12

08/30/12

08/30/12

08/30/12

ELECTRONICALLY FILE AFFIDAVIT OF SERVICE
REGARDING SERVICE OF THIRD FEE
APPLICATION OF TOGUT SEGAL AND SEGAL;

REVIEWING AND DRAFTING CORRESPONDENCE
RE: RETIREE DISCOVERY.

REVIEW AND RESPOND TO EMAILS FROM CALL
TEAM.

DISCUSS ISSUES RELATED TO CALL SCRIPT W/
J. ALEXANDER.

MEET W/ ALN, CWD, JMA, AND DB RE: STATUS
AND ISSUES RE: DRAFT TEMPLATE
DECLARATION AND DOCUMENTS COLLECTED
AND EMAIL TEAM RE: SAME.

CONFER W/ D. THOMAS RE: DRAFT CALL SCRIPT.
REVIEW 26 DECLARATIONS.

PREPARE FOR AND PARTICIPATE IN
CONFERENCE WITH TEAM TO DISCUSS ISSUES
RELATED TO RETIREE DECLARATIONS.

CONFER WITH M&E TEAM REGARDING
DECLARATION ISSUES; ADDRESS RM (TOGUT)
REQUEST/ISSUES.

DRAFTING AND ORGANIZING RESPONSES TO
DISCOVERY INCLUDING REQUESTS FOR
ADMISSION AND DOCUMENT REQUESTS.

RECEIPT AND REVIEW OF EMAIL FROM RETIREE
227193 AND DRAFTING RESPONSIVE EMAIL AND
DECLARATION (.5); INFORMAL DISCUSSIONS
WITH COLLEAGUES REGARDING STATUS OF
PROJECT AND QUESTIONS ON TIMING (.3);
DRAFTING EMAIL TO COLLEAGUES REGARDING
DECLARATIONS (.6); TEAM MEETING REGRADING
SAME (.5); ANSWERING SPECIFIC TELEPHONE
CALLS, EMAILS AND IN PERSON QUESTIONS
POSED BY ATTORNEY CALLERS (.3).

ANALYSIS OF ISSUES OBTAINING

O04990/JFS

01584/LAC
04841/NMI
04841/NMI

04841/NMI

04841/NMI
00286/ALN

00286/ALN
00286/ALN
02718/WFT

02323/JMA

03706/KRB

0.20

1.60

0.50

0.30

0.80

0.10
1.40

1.10

0.40

5.00

2.20

0.20
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DATE DESCRIPTION ATTY HOURS
DECLARATIONS FROM RETIREES.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.40
NORTEL RETIREE NO. 206169.

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 PREPARE FOR AND CONDUCT TELEPHONE ~ 04537/NEC 0.50
INTERVIEW OF NORTEL RETIREE NO. 190517.

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 190593.

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATING RECORED OF CALL AND 04537/NEC 0.30
CORRESPONDENCE RE CALL.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.50
NORTEL RETIREE NO. 190585.

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.40
NORTEL RETIREE NO 206524,

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10 .

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.20

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10
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08/30/12 CREATION OF CALL. 04537/NEC 0.10

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.40
NORTEL RETIREE NO 206524.

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 190662.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 1075063.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 200062.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 519922.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 227987

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 190339.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO 207394.

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO 190871.

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 COMMUNICATIONS WITH COUNSEL RE 8/29/12 04537/NEC 0.30
DISCOVERY HEARING AND ALTERATION TO
RESPONSE DEADLINE.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
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NORTEL RETIREE NO. 217177.

08/30/12 CREATE OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.50
NORTEL RETIREE NO. 190477.

08/30/12 COMMUNICATIONS WITH RETIREE NO. 190517 04537/NEC 0.30
RE: LOCATION OF RETIREMENT BENEFITS
PACKAGE.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 240790.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 210308.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 190517.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO. 191966

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO 200147.

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.40
NORTEL RETIREE NO. 206169.

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.10

08/30/12 CREATION OF RECORD OF CALL. 04537/NEC 0.20

08/30/12 PREPARING DRAFT OF DECLARATION FOR 04537/NEC 0.40
RETIREE AND PROVIDING SAME TO RETIREE
FOR REVIEW AND COMMENT.

08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20

NORTEL RETIREE NO 137173.
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DATE DESCRIPTION ATTY HOURS
08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO 190873.
08/30/12 PREPARE FOR AND FOLLOW UP CALL TO 04537/NEC 0.20
NORTEL RETIREE NO 201766.
08/30/12 DRAFTED DAILY CALL SUMMARY AND 04575/B-C 0.10
FORWARDED SAME TO COUNSEL.
08/30/12 COMMUNICATIONS WITH JASON ALEXANDER 04575/B-C 0.10
REGARDING SPECIFIC LEGAL ISSUE WITH
RETIREE.
08/30/12 PREPARED FOR AND CONDUCTED PHONE 04575/B-C 7.00

INTERVIEW WITH NORTEL RETIREE ID NO.
199761 (.7); CREATED RECORD OF CALL WITH
RETIREE ID NO. 199761 (.4); DRAFTED
DECLARATION AND FORWARDED TO NORTEL
RETIREE ID NO. 199761 FOR REVIEW (1.5);
PHONE CALL WITH NORTEL RETIREE ID NO.
195871 REGARDING STATUS OF DRAFT
DECLARATION; SENT DECLARATION TO RETIREE
FOR FINALIZING (.4); CREATED RECORD OF
COMMUNICATIONS, INTERVIEW SHEET AND
RECEIPT OF SIGNED ELECTRONIC
DECLARATION FOR NORTEL RETIREE ID NO.
195871 (.4); REVIEWED FINAL EDITS TO
DECLARATION FOR NORTEL RETIREE ID NO.
188533 (.2); CREATED RECORD OF INTERVIEW
SHEET, COMMUNICATIONS WITH RETIREE, AND
RECEIPT OF ELECTRONICALLY SIGNED
DECLARATION FOR NORTEL RETIREE ID NO.
188533 (.2); COMMUNICATIONS WITH NORTEL
RETIREE ID NO. 188533 REGARDING OBTAINING
THE SIGNED ORIGINAL DECLARATION (.1);
REVIEWED FINAL DRAFT OF DECLARATION
FROM NORTEL RETIREE ID NO. 1213749 (.2);
CREATED RECORD OF INTERVIEW SHEET,
COMMUNICATIONS WITH RETIREE, AND RECEIPT
OF ELECTRONICALLY SIGNED DECLARATION
FRO ID NO. 1213749 (.4); PREPARED FOR AND
ATTEMPTED PHONE INTERVIEW WITH NORTEL
ID NO, 204411 - LEFT MESSAGE (.2); PREPARED
FOR AND ATTEMPTED PHONE INTERVIEW WITH
NORTEL RETIREE ID NO. 232550 - LEFT
MESSAGE (.2); PREPARED FOR AND
CONDUCTED PHONE INTERVIEW WITH NORTEL
RETIREE ID NO. 193376 (.6); CREATED RECORD
OF CALL WITH RETIREE ID NO. 193376 (.3);
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DRAFTED DECLARATION FOR NORTEL ID NO.
193376 AND FORWARDED TO RETIREE FOR
REVIEW (1.2):

08/30/12 AT REQUEST OF COUNSEL, COMPILED AND 04575/B-C 0.10
FORWARDED NORTEL DOCUMENTS RECEIVED
FROM RETIREES TO DEBORAH BROWN, LOU
CHIAFULLO, AND NICK INSUA.

08/30/12 RECEIVED, REVIEWED AND FILED SIGNED 03262/CWD 0.30
DECLARATION FROM RETIREE 190499.

08/30/12 MEETING WITH TEAM TO DISCUSS ISSUES RE 03262/CWD 0.60
RETIREE INTERVIEWS, DECLARATIONS AND
RELATED DOCUMENTS.

08/30/12 TELEPHONE COMMUNICATION WITH RETIREE 03262/CWD 0.20
4713054 RE DRAFT DECLARATION AND RELATED
DOCUMENTS.

08/30/12 PREPARED AND SENT DRAFT DECLARATION TO 03262/CWD 1.40
RETIREE 204828.

08/30/12 COMMUNICATION WITH TEAM REGARDING 03262/CWD 0.30

ISSUES ARISING DURING RETIREE
COMMUNICATIONS AND ADJUSTMENTS TO
PROTOCOL.

08/30/12 FOLLOW UP TELEPHONE CALL WITH NUMBER 05130/CMG 4.90
293652 TO DISCUSS POSSIBILITY OF HER
SUBMITTING A DECLARATION (.8); DRAFT
DECLARATION FOR NUMBER 203184 AND
FORWARD TO RETIREE VIA EMAIL FOR REVIEW
(1.4); FOLLOW UP TELEPHONE CALL WITH
NUMBER 200821 TO DISCUSS POSSIBILITY OF
SUBMITTING A DECLARATION (.7); DRAFT
DECLARATION FOR NUMBER 203652 (1.2); DRAFT
DECLARATION FOR NUMBER 200821 AND EMAIL
FOR REVIEW (1.1).

08/30/12 PREPARING FOR AND CONDUCTING TELEPHONE 03698/RJH 3.30
INTERVIEW OF NORTEL RETIREE, ID NO. 190796
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 201623 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 190912 (0.2);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 190877
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(0.1), PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 197829 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 190524 (0.1):
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 199224
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 200090 (0.3); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 207187 (0.1):
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 186472
(0.7); CREATING RECORD OF CALL AND
CORRESPONDENCE (0.5); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 186673 (0.1); REVISING
AND EDITING DRAFT DECLARATION FOR
NORTEL RETIREE, ID NO. 28363 (0.2); PREPARING
FOR AND CONDUCTING TELEPHONE INTERVIEW
OF NORTEL RETIREE, ID NO. 186943 (0.1):
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO; 197829
(0.1); PREPARING FOR AND CONDUCTING
TELEPHONE INTERVIEW OF NORTEL RETIREE, ID
NO. 187042 (0.1); PREPARING FOR AND
CONDUCTING TELEPHONE INTERVIEW OF
NORTEL RETIREE, ID NO. 60815 (0.1); PREPARING
FOR AND CONDUCTING TELEPHONE INTERVIEW
OF NORTEL RETIREE, ID NO. 205446 (0.1);
PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF NORTEL RETIREE, ID NO. 209297
(0.1)

DRAFTING LETTER TO RETIREE NO. 226838 (0.2); 04585/BDK
SPEAKING WITH RETIREE NO. 226838 (0.2);
PREPARING FOR CALL AND CONTINUING
INTERVIEW OF RETIREE NO. 189423 (0.8);
CREATING RECORD OF CALL WITH RETIREE NO.
189423 (0.2); CONFERRING WITH M&E
ATTORNEYS REGARDING ISSUES RELATING TO
RETIREE INTERVIEWS AND DECLARATIONS (0.5);
DRAFTING DECLARATION FOR AND SENDING
SAME TO RETIREE NO. 189423 (1.1); PREPARING
FOR AND CALLING RETIREE NO. 196738 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
197731 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 520545 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 196448 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 5022891 (0.1);

9.10
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PREPARING FOR AND CALLING RETIREE NO.
196413 (0.1); CREATING RECORD OF CALL FOR
RETIREE NO. 196413 (0.2); PREPARING FOR AND
CALLING RETIREE NO. 5022780 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 196962 (0.1);
CREATING RECORD OF CALL FOR RETIREE NO.
196962 (0.2); PREPARING FOR AND CALLING
RETIREE NO. 196963 (0.1); CREATING RECORD
OF CALL FOR RETIREE NO. 196963 (0.2);
PREPARING FOR AND CALLING RETIREE NO.
196153 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 196301 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 196058 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 197607 (0.1);
PREPARING FOR AND CALLING RETIREE NO.
197563 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 196463 (0.1); CREATING RECORD
OF CALL WITH RETIREE NO. 196463 (0.2);
PREPARING FOR AND CALLING RETIREE NO.
189342 (0.1); PREPARING FOR AND CALLING
RETIREE NO. 192520 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 188658 (0.1); PREPARING
FOR AND CALLING RETIREE NO. 187557 (0.1);
PREPARING FOR CALL WITH RETIREE NO.
205704 (0.1); PREPARING FOR CALL AND

_ SPEAKING WITH RETIREE NO. 188825 (0.3);

CREATING RECORD OF CALL WITH RETIREE NO.
188825 (0.2); PREPARING FOR AND CALLING
RETIREE NO. 188698 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 528674 (0.1); PREPARING
FOR CALL AND SPEAKING WITH RETIREE NO.
187724 (0.2); PREPARING FOR AND CALLING
RETIREE NO. 189451 (0.1); PREPARING FOR AND
CALLING RETIREE NO. 188126 (0.1); PREPARING
FOR CALL AND INTERVIEWING RETIREE NO.
188842 (0.8); CREATING RECORD OF CALL FOR
RETIREE NO. 188842

RECEIPT AND REVIEW OF DECLARATION FROM 05172/JAK
190649 (.20); ATTENTION TO ELECTRONIC

RECORDS OF DOCUMENTS RECEIVED (.30);

PHONE CALL WITH RETIREE 227556 (.50); MAKE

NOTES ON PHONE CALL WITH RETIREE 227556

(.20); PREPARE DECLARATION FOR RETIREE

227556 (.50).

PHONE CALL W RETIREE 194219 (0.2); PHONE © 05172/JAK
CALL TO RETIREE 226937 (0.1); PHONE CALL TO

RETIREE 194108 (0.1); PHONE CALL TO RETIREE

238212 (0.1); PHONE CALL TO RETIREE 226987

1.70

2.40
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08/30/12

08/30/12

(0.1); PHONE CALL WITH RETIREE 194068 (0.1);
PHONE CALL TO RETIREE 194180 (0.1); LEFT
MESSAGE FOR RETIREE 238303 (0.1); PHONE
CALL TO RETIREE 194136 (0.1); PHONE CALL TO
RETIREE 190967 (0.1); PHONE CALL TO RETIREE
194049 (0.1); LEFT MESSAGE FOR RETIREE
193912 (0.1); PHONE CALL W RETIREE
191107(0.5); MAKES NOTES ON PHONE CALL W
RETIREE 191107 (0.1); PREPARE DECLARATION
FOR RETIREE 191107 (0.5)

LEFT MESSAGE FOR RETIREE 194302 (0.1);
PHONE CALL W RETIREE 200118 (0.1); PHONE
CALL TO RETIREE 223283 (0.1); PHONE CALL TO
RETIREE 226959 (0.1); PHONE CALL TO RETIREE
508819 (0.1); PHONE CALL W RETIREE 194258
(0.1); PHONE CALL W RELATIVE OF RETIREE
193869 (0.1); PHONE CALL TO RETIREE 193959
(0.1); PHONE CALL TO RETIREE 193866 (0.1);
LEFT MESSAGE FOR RETIREE 194215 (0.1)

PHONE CALL WITH RETIREE 223298 (.10);
RECEIPT AND REVIEW OF DOCUMENTS
PROVIDED BY RETIREE 190649 (.70); RECEIPT
AND REVIEW OF DECLARATION FROM 187399
(.10); RECEIPT AND REVIEW OF DOCUMENTS
PROVIDED BY RETIREE 187399 (.50); PHONE
CALL WITH RETIREE 226825 (.10); PHONE CALL
WITH RETIREE 201064 (.20); LEFT MESSAGE FOR
RETIREE 238789 (.10); PHONE CALL TO RETIREE
226970 (.10); PHONE CALL WITH RETIREE 56534
(.10); PHONE CALL WITH RETIREE 227073 (.50):
MAKES NOTES ON CALL WITH RETIREE 227073:
(.10); PREPARE DECLARATION FOR RETIREE
227073 (.60); PHONE CALL WITH RETIREE 186837
(.60); MAKE NOTES ON PHONE CALL WITH
RETIREE 186837 (.10); PREPARE DECLARATION
FOR RETIREE 186837 (.60).

CONFER WITH COLLEAGUES (.3); CALLS TO
RETIREES INCLUDING I. KANDEL (.1); C. ADAMS
(.1); D. MOUAT (.1); D. BROWN (.1); H. COOPER
(.1); B. TIMMER (.2); D. BORRIS (.2); J. CYZE (.1); J.
NORDIN (.1); R. MICEK (.1); P. FREIDERICH (.1):
REVIEW AND REVISE DECLARATION AND COVER
LETTER TO W. RIEWER (.6).

REVISION OF DRAFT DECLARATION FOR
NORTEL RETIREES IN CONNECTION WITH
NORTEL BANKRUPTCY MOTION TO

05172/JAK 1.00

05172/JAK 4.50

04867/CMM 2.20

04980/NJN 1.10
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08/30/12

08/30/12

TERMINATION RETIREMENT BENEFITS.
DECLARATION WILL DETAIL HOW EACH RETIREE
WILL AND HAS BEEN AFFECTED BY THE ACTION
OF NORTEL WHILE RETIREE AS EMPLOYED BY
NORTEL AND SUBSEQUENT TO THE RETIREES
RETIREMENT FROM NORTEL.

PHONE CALL WITH NORTEL RETIREES TO 04980/NJN
DISCUSS DECLARATION IN CONNECTION WITH

NORTEL BANKRUPTCY MOTION TO

TERMINATION RETIREMENT BENEFITS. RETIREE

WAS NOT AVAILABLE THEREFORE | LEFT A

VOICEMAIL MESSAGE INDICATING MY REASON

FOR THE CALL, ASKING THE RETIREE TO

CONTACT ME AS SOON AS POSSIBLE, AND THAT

| WOULD BE ATTEMPTING TO CONTACT THE

RETIREE IN THE NEXT DAY OR SO.

PHONE CALL WITH NORTEL RETIREES. 04980/NJN
DISCUSSED DECLARATION IN CONNECTION

WITH NORTEL BANKRUPTCY MOTION TO

TERMINATION RETIREMENT BENEFITS.

UNWILLING TO ALLOW M&E TO PROVIDE LIMITED
REPRESENTATION FOR THE PURPOSES OF

DRAFTING A DECLARATION TO THE

BANKRUPTCY COURT.

PHONE CALL WITH NORTEL RETIREES. 04980/NJN
DISCUSSED DECLARATION IN CONNECTION

WITH NORTEL BANKRUPTCY MOTION TO

TERMINATION RETIREMENT BENEFITS. WILLING

TO ALLOW M&E TO PROVIDE LIMITED

REPRESENTATION FOR THE PURPOSES OF

DRAFTING A DECLARATION TO THE

BANKRUPTCY COURT.

CORRESPONDENCE WITH RETIREE 197690. (.1). 03658/BPR
REVISE DECLARATION FOR RETIREE 105209.

(.3). CORRESPONDENCE WITH RETIREE 105209
REGARDING DECLARATION. (.2) REVIEW
DOCUMENTS FROM RETIREE 186690. (.3).
REVISE DECLARATION FOR RETIREE 186690.

(.2). REVISE DECLARATION FOR RETIREE 188966.
(.3) CORRESPONDENCE WITH RETIREE 188966
REGARDING DECLARATION. (.1) PREPARE FOR
AND CONFERENCE WITH RETIREE 188057. (.3)
REVISE DECLARATION FOR RETIREE 188057. (.3).
PREPARE FOR AND CALL RETIREE 187874.
NUMBER NOT IN SERVICE. (.1) PREPARE AND
CALL RETIREE 187912. VOICE MAIL. (.1).

0.30

0.70

3.10

4.30
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PREPARE FOR AND CALL RETIREE 190758.
NUMBER NOT IN SERVICE. (.1) PREPARE FOR
AND CALL RETIREE 1541148. VOICE MAIL. (.1)
PREPARE FOR AND CONFERENCE WITH
RETIREE 908074. (.3) DRAFT DECLARATION FOR
RETIREE 90874. (.5). COLLECT AND FORWARD
DOCUMENTS FROM RETIREES. (.5).
CONFERENCE WITH RETIREE 197690. (.5)

PREPARING FOR AND CONDUCTING TELEPHONE
INTERVIEW OF RETIREE NO. 4722173 (.8),
PREPARING DRAFT DECLARATION FOR SAME
(1.3) AND DRAFTING CORRESPONDENCE TO
RETIREE (.1); CREATING RECORD OF CALL AND
CORRESPONDENCE (.1); PREPARING FOR AND
LEAVING TELEPHONE MESSAGES FOR SEVEN
RETIREES (1.0).

RETURN CALL AND INTERVIEW RETIREE194538
(1.2); PREPARE AND FILE INTERVIEW SHEET FOR
RETIREE194538 (0.3); PREPARATION OF
DECLARATION AND LETTER TO RETIREE 194538
(0.4); REPEAT CALL REGARDING DECLARATION
WITH 196643 (0.3); REVISE DECLARATION AND
PREPARE CORRESPONDENCE FOR RETIREE
194643 (0.3); CALL AND INTERVIEW OF RETIREE
19788 (0.6); CALL AND INTERVIEW WITH RETIREE
519679 (0.6); ATTEMPTED RETURN CALLS TO
RETIREES195780, 235565, 234337,197545, 195795,
206014, 195865, 195853, 196877 (0.3); CALL (LEFT
MESSAGE) FOR LAWYER FOR RETIREE 196761
(0.1)..

ALL WITH RETIREE 201129 (.2); COMPLETE
INTERVIEW SHEET FOR 201129 (.1); PREPARE
STATUS UPDATE (.1).

MEET AND CONFER W/ALN AND TEAM
REGARDING STATUS OF CALLS TO RETIREES;
REVIEW AND ORGANIZE INTERVIEW SHEETS
AND SIGNED DECLARATIONS; PREPARE
ELECTRONIC COPY OF SIGNED DECLARATIONS
AND FORWARD TO RM; UPDATE TEAM CALL
LOG; COLLECT DOCUMENTS.

REVIEWING AND DRAFTING CORRESPONDENCE
RE: RETIREE DISCOVERY.

03648/VDR

02153/DAT

03589/MDV

00535/D-B

01584/LAC

3.30

4.10

0.40

5.00

0.90
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08/31/12 DRAFT AND SEND FOLLOW UP EMAIL TO W. 04841/NMI 0.30
REILLY AND A. NATALI RE: TELECON W/ R. MILIN
AND S. SKELLY ON DECLARATION PROTOCOL.

08/31/12 PREPARE FOR AND PARTICIPATE IN 04841/NMI 0.40
CONFERENCE CALL W/ R. MILIN AND S. SKELLY
RE: DECLARATION PROTOCOL.

08/31/12 DRAFTING AND ORGANIZING RESPONSES TO 02718/WFT 5.00
DISCOVERY INCLUDING REQUESTS FOR
ADMISSION AND DOCUMENT REQUESTS.

08/31/12 EXAMINE AND ANALYZE AGENDA FOR MATTERS 03706/KRB 0.10
TO BE HEARD ON 9/5.

08/31/12 COMPILED LIST OF INACCURATE CONTACT 04575/B-C 0.10
INFORMATION FOR RETIREES; FORWARDED
SAME TO DEBORAH BROWN.

08/31/12 DRAFT DECLARATION FOR NO. 203622 (1.4; 05130/CMG 3.40
TELEPHONE CALL FROM RETIREE NO. 200821 RE
DOCUMENTS HE WAS ABLE TO FIND AND WILL
FAX TO ME (.3); REVISE DRAFT DECLARATION
FOR NO. 200821 AND EMAIL SAME TO RETIREE
(.6 ); ATTENTION TO ADMINISTRATIVE MATTERS
RE DOCUMENT AND INFORMATION
MANAGEMENT (1.1).

08/31/12 REVIEW OF FINAL DECLARATION FROM RETIREE 04585/BDK 1.60
NO. 196439 (0.1); CREATING RECORD OF SAME
(0.2); PREPARING FOR CALL AND SPEAKING
WITH RETIREE NO. 196058 (0.2); PREPARING FOR
CALL AND SPEAKING WITH RETIREE NO. 196758
(0.3); PREPARING FOR AND CALLING RETIREE
NO. 187463 (0.1); COMMUNICATING WITH M&E
ATTORNEYS AND PARALEGALS REGARDING
CONTACT INFORMATION FOR CERTAIN
RETIREES (0.5); COMMUNICATING WITH M&E
ATTORNEYS REGARDING STATUS REPORT FOR
RETIREE INTERVIEWS (0.2).

08/31/12 RECEIPT AND REVIEW OF DECLARATION FROM 05172/JAK 0.30
RETIREE 201451 AND EXHIBITS

08/31/12 CORRESPONDENCE WITH D. BROWN 03658/BPR 1.80
REGARDING INACCURATE CONTACT
INFORMATION. (.2) DRAFT CALL REPORT. (.1).
REVIEW MESSAGES FROM RETIREES 1583352 .
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AND 754855. (.2) REVISE DECLARATION BASED
ON COMMENTS FROM RETIREE 754855. (.4)
REVIEW AND REVISE DECLARATION FOR
RETIREE 908074. (.1) DRAFT CORRESPONDENCE
TO RETIREE 908074 REGARDING DECLARATION.
(.1). REVISE DECLARATION FOR RETIREE 197690.

(.7)

08/31/12 PREPARING FOR AND CONDUCTING TELEPHONE 03648/VDR 3.00
INTERVIEW OF RETIREE NO. 4733109 (0.8),
DRAFTING DECLARATION FOR SAME (1.7) AND
DRAFTING CORRESPONDENCE TO RETIREE (.1);
CREATING RECORD OF CALL AND
CORRESPONDENCE (.1); PREPARING FOR AND
PLACING CALLS TO FOUR OTHER RETIREES (.3).

08/31/12 RETURN CALL TO LAWYER FOR RETIREE 196761 02153/DAT 0.70
~ LEFT MESSAGE (0.1); CALL TO RETIREE 234337
- SHORT DISCUSSION (0.1); CREATION OF SUB
FOLDERS AND FILING OF EMAILS AND OTHER
DOCUMENTS FROM PRIOR CALLS (0.5).

08/31/12 COLLECT BAD CONTACT INFORMATION FROM 00535/D-B 2.60
TEAM; UPDATE STATUS OF SIGNED
DECLARATIONS; REVIEW AND ORGANIZE
INTERVIEW SHEETS REC'D FROM CALL TEAM;
UPDATE CENSUS SPREADSHEET WITH
COMPLETED INTERVIEW INFORMATION.

08/31/12 PREPARE CERTIFICATE OF NO OBJECTION O4990/JFS 0.40
REGARDING THIRD QUARTERLY FEE
APPLICATION OF COMMITTEE MEMBERS;

TOTAL HOURS: 1,413.46

TOTAL FEES oo cccccnececenecesetseeseceesaeesesseeeeseessessesseenseeeeseaesseeaees $539,595.15
TOTAL DISBURSEMENTS. 000... cccecssccseescesecssesseesecseeseseeeeesesesesaserees 3,841.53

TOTAL DUE THIS INVOICE ooo... ccceceeeeteeseeseesseeseeseeseessesceneessesseerees $543,436.68

AMOUNT OUTSTANDING FROM PRIOR INVOICES $49,442.99

TOTAL AMOUNT DUE AS OF THIS INVOICE $592,879.67
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00246
00286
00572
00952
01584
02163
02718
04841
05237

02298

03589
03620
04585
02153
04575
02323
04537

03156
03262
03651
05130
05147
05172
03648

03658
03698
03706
03749
04867
04980

04990
02949
00535
04553

02955

00216

NORTEL NETWORKS

WILLIAM T. REILLY
ARNOLD L. NATALI, JR.
DAVID A. LUDGIN

MARK A. DANIELE
LOUIS A. CHIAFULLO
BRIAN J. OSIAS
WILLIAM F. TAYLOR, JR.
NICHOLAS M. INSUA
ALAN F. KORNSTEIN

JANE S. KIMBALL

MARK D. VILLANUEVA
DAVID HARTY

BRETT D. KAHN

DAVID A. THOMAS
BRIAN CUNNINGHAM
JASON M. ALEXANDER
NORISS E. COSGROVE
KURTZ

MITCHELL S. KURTZ
CRAIG W. DAVIS
KEVIN A. BROWN
CATHERINE M. GRAY
SCOTT H. BERNSTEIN
JAMES KELLAR
VANESSA D. ROBERTS
AVERY

BRIAN P. RICE

R. JOSEPH HRUBIEC
KATE R. BUCK
JOSHUA ROBERTS
CYNTHIA M. MORRISON
NNAMDi, J. NWANERI

JARED, F. SCHIERBAUM
JAMES A. SNEDEKER
DEBORAH BROWN
TAMIKA GOLDSON-
CAMMOCK

SCOTT WILLIAMS

JAMES J. GREENSTONE

ATTORNEY TOTALS:

PARTNER
PARTNER
PARTNER
PARTNER
PARTNER
PARTNER
PARTNER
PARTNER
PARTNER

SPEC COUNSEL

ASSOCIATE
ASSOCIATE
ASSOCIATE
ASSOCIATE
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PARALEGAL
PARALEGAL
PARALEGAL

LIT/SYS SUPPORT

RESRCH ANALYST

HOURS

41.90
123.40
0.20
83.65
66.40
2.40
59.10
41.20
35.20

51.24

29.70

1.50
61.30
63.30
63.50
96.90
30.90

10.30
82.90

8.50
20.80

2.00
77.90
19.50

48.60
50.10
30.50
51.30
24.10
56.30

28.30
0.20
47.10
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RATE VALUE
550.00 23,045.00
520.00 64,168.00
525.00 105.00
525.00 43,916.25
435.00 28,884.00
425.00 1,020.00
525.00 31,027.50
410.00 16,892.00
520.00 18,304.00
390.00 19,971.90
380.00 11,286.00
415.00 622.50
280.00 17,164.00
405.00 25,636.50
340.00 21,590.00
335.00 32,461.50
390.00 12,051.00
400.00 4,120.00
335.00 27,771.50
385.00 3,272.50
335.00 6,968.00
370.00 740.00
300.00 23,370.00
390.00 7,605.00
355.00 17,253.00
240.00 12,024.00
295.00 8,997.50
385.00 19,750.50
380.00 9,158.00
245.00 13,793.50
215.00 6,084.50
175.00 35.00
210.00 9,891.00
165.00 66.00
200.00 460.00
150.00 90.00

539,595.15
